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                              Exhibit 1
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           use of physical force such as spanking or        brought action against Internet service
           choking poses certain inherent risks to          provider (ISP), seeking to hold ISP con-
           personal safety not present in more tradi-       tributorily and vicariously liable for al-
           tional types of sexual activity. Thus, as in     leged copyright infringement. Parties
           Cruzan and Glucksberg, a legislative re-         cross-moved for summary judgment.
           striction on BDSM activity is justifiable by
                                                            Holdings: The District       Court,   Liam
           reference to the state’s interest in the
                                                            O’Grady, J., held that:
           protection of vulnerable persons, i.e. sexu-
           al partners placed in situations with an         (1) copyrights that listed company as
           elevated risk of physical harm. According-           claimant on certificates of registration
           ly, consistent with the logic of Lawrence,           were entitled to the presumption of
           plaintiff has no constitutionally protected          validity and ownership;
           and judicially enforceable fundamental lib-
           erty interest under the Due Process              (2) company established ownership of
           Clause of the Fourteenth Amendment to                copyrights that listed predecessor of
           engage in BDSM sexual activity.                      company as claimant on certificate of
                                                                registration;
                                IV.
                                                            (3) company established ownership of
              For the foregoing reasons, plaintiff’s
                                                                copyrights that company purchased or
           motion for summary judgment must be
                                                                otherwise acquired from third parties;
           granted and defendants’ motion for sum-
           mary judgment must be denied. Because            (4) licensee did not have exclusive license,
           the parties must address the issue of a              and thus lacked standing to bring
           proper remedy before a final order can               copyright infringement action;
           issue, it is appropriate to set a schedule for
                                                            (5) ISP did not reasonably implement its
           the briefing of the remedy issue.
                                                                repeat infringer policy, precluding pro-
             An appropriate order will issue.                   tection under safe harbor provision of


                        ,
                                                                Digital Millennium Copyright Act
                                                                (DMCA); and

                                                            (6) fact issues precluded summary judg-
                                                                ment on owner’s claims of contributory
                 BMG RIGHTS MANAGEMENT
                                                                and vicarious infringement against
                  (US) LLC, and Round Hill
                                                                ISP.
                    Music LP, Plaintiffs,
                                 v.                         Ordered accordingly.

            COX COMMUNICATIONS, INC., and
                Coxcom, LLC, Defendants.

                                                                  O77
                                                            1. Copyrights and Intellectual Property
                     Civil No. 1:14-cv-1611
                  United States District Court,
                                                                 One infringes a copyright contribu-
                         E.D. Virginia,
                                                            torily by inducing or encouraging direct
                     Alexandria Division.
                                                            infringement, and infringes vicariously by
                    Signed December 1, 2015                 profiting from direct infringement while
           Background: Putative owners of more              declining to exercise a right to stop or
           than 1,400 musical composition copyrights        limit it.
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                     BMG RIGHTS MANAGEMENT (US) v. COX COMMUNICATIONS                                 635
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                  O83(3.5)
           2. Copyrights and Intellectual Property             the purposes of the Copyright Act.       17
                                                               U.S.C.A. § 201(d).
                Copyrights that listed company as

                                                                     O76
           claimant on certificates of registration            7. Copyrights and Intellectual Property
           were entitled to the presumption of validi-
           ty and ownership. 17 U.S.C.A. § 410(c).                  To determine whether licensee has
                                                               standing to sue for copyright infringement,
                   O83(3.5)
           3. Copyrights and Intellectual Property
                                                               the court looks to the substance of what
                                                               was given to the licensee and not the label
                Company established ownership of
                                                               that the parties put on the agreement. 17
           copyrights that listed predecessor of com-
                                                               U.S.C.A. § 501(b).
           pany as claimant on certificate of registra-
           tion, where company produced both the
                                                                     O76
                                                               8. Copyrights and Intellectual Property
           certificates of registration and the relevant
           merger and acquisition agreements be-
                                                                    Licensee did not have exclusive li-
           tween company and the entity listed as the
                                                               cense, and thus lacked standing to bring
           claimant on the certificates. 17 U.S.C.A.
                                                               copyright infringement action, where there
           § 410(c).
                                                               was no other indication aside from the

                  O83(3.1)
           4. Copyrights and Intellectual Property             word ‘‘administration’’ that suggested the
                                                               agreement transferred any interest at all
               Company established ownership of                and there was no reference to any of the
           copyrights that company purchased or oth-           actions contemplated by statute governing
           erwise acquired from third parties, based           exclusive rights in copyrighted works, such
           on co-publication or administration agree-          as the right to reproduce or distribute,
           ments and declaration testimony that the            rather, the word ‘‘administration’’ was sur-
           agreements related to the copyrighted               rounded by language that painted licen-
           works. 17 U.S.C.A. § 204(a).                        see’s role as administrative. 17 U.S.C.A.
                                                               § 106.

                  O45
           5. Copyrights and Intellectual Property

                                                                     O48
                                                               9. Copyrights and Intellectual Property
               Document need not contain an elabo-
           rate explanation nor any particular magic
                                                                    An exclusive license is transferred
           words to satisfy statutory requirement
                                                               when an individual or entity is given the
           that a transfer of copyright ownership is
                                                               right to use a copyright and the owner
           not valid unless instrument of conveyance
                                                               promises not to convey that right to any-
           or memorandum of transfer is signed and
                                                               one outside of those persons or entities
           in writing, but must simply show an agree-
                                                               who have an interest in the license. 17
           ment to transfer copyright. 17 U.S.C.A.
                                                               U.S.C.A. §§ 201(d)(2), 501(b).
           § 204(a).

                                                                     O48
                                                               10. Copyrights and Intellectual Property
                   O44, 48
           6. Copyrights and Intellectual Property

                Either an assignment, which transfers               An exclusive license to use a copyright
           legal title to the transferee, or an exclusive      is transferred when there is no indication
           license, which transfers an exclusive per-          of a further promise that the same permis-
           mission to use to the transferee, qualifies         sion will not be given to others. 17
           as a ‘‘transfer’’ of a right in a copyright for     U.S.C.A. §§ 201(d)(2), 501(b).
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                  O75
           11. Copyrights and Intellectual Property        copyright violation be able to tell merely
                                                           from looking at the user’s activities, state-
                Internet service provider should rea-      ments, or conduct that copyright infringe-
           sonably implement policy that provides for      ment is occurring. 17 U.S.C.A. § 512.
           the termination of service access for repeat
                                                                 O75
                                                           15. Copyrights and Intellectual Property
           copyright infringers in appropriate circum-
           stances, as required in order to be eligible
           for protection from copyright liability un-          Implementation of a repeat-infringer
           der Digital Millennium Copyright Act            policy is unreasonable, as would preclude
           (DMCA), at a minimum, in instances              protection under safe harbor provision of
           where service provider is given sufficient      Digital    Millennium     Copyright   Act
           evidence to create actual knowledge of bla-     (DMCA), when Internet service providers
           tant, repeat infringement by particular         fail to terminate users who repeatedly or
           users, particularly infringement of a willful   blatantly infringe copyright. 17 U.S.C.A.
           and commercial nature. 17 U.S.C.A.              § 512(i).
           § 512(i).
                                                                 O89(2)
                                                           16. Copyrights and Intellectual Property

                  O75
           12. Copyrights and Intellectual Property
                                                                Genuine issues of material fact, in-
                Internet service provider did not rea-     cluding whether third-parties had infring-
           sonably implement its repeat infringer          ed musical composition copyrights and
           policy, precluding protection under safe        whether Internet service provider (ISP)
           harbor provision of Digital Millennium          knew of or was deliberately avoiding the
           Copyright Act (DMCA), where service             infringing activity, precluded summary
           provider was able to tell from account          judgment on owner’s claims of contributo-
           holders’ statements and conduct that in-        ry and vicarious infringement against ISP.
           fringement was occurring, yet continued         17 U.S.C.A. § 106.
           to provide service. 17 U.S.C.A. § 512(i).
                                                                 O53(1)
                                                           17. Copyrights and Intellectual Property

                  O75
           13. Copyrights and Intellectual Property
                                                                Where a copyright owner has not li-
               Notices submitted by copyright hold-        censed its agent to authorize distribution
           ers and compliant under Digital Millenni-       or reproduction, the agent’s downloading
           um Copyright Act (DMCA) are powerful            of the works is not authorized and thus
           evidence of Internet service provider’s         does not run afoul of the general proposi-
           knowledge of copyright infringement, as         tion that a copyright owner cannot infringe
           would preclude protection under safe har-       his own copyright. 17 U.S.C.A. § 106.
           bor provision of DMCA. 17 U.S.C.A.

                                                                 O67.2
           § 512.                                          18. Copyrights and Intellectual Property


                  O75
           14. Copyrights and Intellectual Property
                                                                Infringement of the distribution right
                                                           under the Copyright Act requires an actu-
                Internet service provider’s knowledge      al dissemination of either copies or phono-
           of copyright infringement, as would pre-        records. 17 U.S.C.A. § 106(3).

                                                           19. Statutes O1242
           clude protection under safe harbor provi-
           sion of Digital Millennium Copyright Act
           (DMCA), requires, at a minimum, that a             Legislative history may not be used to
           service provider who receives a notice of a     muddy clear statutory language.
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                     BMG RIGHTS MANAGEMENT (US) v. COX COMMUNICATIONS                                   637
                                          Cite as 149 F.Supp.3d 634 (E.D.Va. 2015)

           20. Treaties O12                                    copyright infringement, where the person
                The World Intellectual Property Or-            was aware of a high probability of the fact
           ganization (WIPO) treaty is not self-exe-           in dispute and consciously avoided con-
           cuting and lacks any binding legal authori-         firming that fact.
           ty separate from its implementation

                                                                     O52
                                                               27. Copyrights and Intellectual Property
           through the Copyright Act. 17 U.S.C.A.
           § 104.
           21. Statutes O1209
                                                                    Willful blindness, as element of con-
                                                               tributory copyright infringement, requires
               Courts employ the Charming Betsy                more than negligence or recklessness;
           canon of statutory interpretation only              there must be evidence that the defendant
           when construing ambiguous statutes to               took deliberate actions to avoid confirming
           avoid unreasonable interference with the            a high probability of wrongdoing and who
           sovereign authority of other nations.               can almost be said to have actually known
           22. International Law O1                            the critical facts.
                If a statute makes plain Congress’s
                                                                     O77
                                                               28. Copyrights and Intellectual Property
           intent, a court must enforce the intent of
           Congress irrespective of whether the stat-
                                                                    Vicarious liability for copyright in-
           ute conforms to customary international
                                                               fringement holds a defendant accountable
           law.
                                                               for third-party infringement if he (1) pos-

                  O77
           23. Copyrights and Intellectual Property            sessed the right and ability to supervise
                                                               the infringing activity, and (2) possessed
                A contributory copyright infringer is          an obvious and direct financial interest in
           one who, (1) with knowledge of the infring-         the exploited copyrighted materials.
           ing activity, (2) induces, causes or materi-

                                                                     O77
                                                               29. Copyrights and Intellectual Property
           ally contributes to the infringing conduct
           of another.
                                                                    Unlike contributory infringement, vi-

                  O77
           24. Copyrights and Intellectual Property            carious liability for copyright infringement
                                                               is not based on the knowledge or intent of
                Knowledge requirement of contributo-           the defendant; it is entirely dependent on
           ry copyright infringement is met by a               the existence of a financial benefit and the
           showing of actual or constructive knowl-            defendant’s relationship to the infringe-
           edge or by evidence that a defendant took           ment.
           deliberate actions to willfully blind itself to

                                                                     O77
           specific infringing activity.                       30. Copyrights and Intellectual Property


                 O52
           25. Copyrights and Intellectual Property
                                                                    Direct financial benefit from another’s
                                                               copyright infringement, which defendant
               Willful blindness is the equivalent of
                                                               must receive as condition for imposing vi-
           knowledge in copyright law.
                                                               carious liability, requires a causal relation-

                 O52
           26. Copyrights and Intellectual Property            ship between the infringing activity and
                                                               any financial benefit a defendant reaps,
               A person is willfully blind or engages          regardless of how substantial the benefit is
           in conscious avoidance amounting to                 in proportion to a defendant’s overall prof-
           knowledge, as element of contributory               its.
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                                                           36. Damages O87(1)
                 O77
           31. Copyrights and Intellectual Property
                                                               When statutory damages are penal in
                Direct financial benefit from another’s    nature, the focus is necessarily on the de-
           copyright infringement, which defendant         fendant’s actions and not the plaintiff’s.
           must receive as condition for imposing vi-

                                                                 O87(3.1)
           carious liability, can be shown by evidence     37. Copyrights and Intellectual Property
           that users are attracted to a defendant’s
           product because it enables infringement,             Statutory damages under the Copy-
           and that use of the product for infringe-       right Act are not penal, instead, they are
           ment financially benefits the defendant.        aimed at compensating copyright owners
                                                           and deterring future infringing conduct.
                 O77
           32. Copyrights and Intellectual Property
                                                           17 U.S.C.A. § 101 et seq.

                Financial benefit that may support
                                                                 O89(2)
                                                           38. Copyrights and Intellectual Property
           claim of vicarious copyright infringement
           exists where the availability of infringing
                                                                Genuine issue of material fact as to
           material acts as a draw for customers.
                                                           whether owner of musical composition
                                                           copyrights failed to mitigate its damages
                 O77
           33. Copyrights and Intellectual Property
                                                           precluded summary judgment on owner’s
                                                           claims of contributory and vicarious in-
                To constitute a direct financial benefit
                                                           fringement against Internet service pro-
           for purposes of vicarious infringement
                                                           vider (ISP).
           claim, the ‘‘draw’’ of infringement need not
           be the primary, or even a significant, draw;    39. Equity O65(1)
           rather, it need only be ‘‘a’’ draw.
                                                                Court can deny relief under the doc-

                 O77
           34. Copyrights and Intellectual Property        trine of unclean hands only when there is a
                                                           close nexus between a party’s unethical
                While the ‘‘draw’’ of copyright of in-     conduct and the transactions on which that
           fringement need not be significant to con-      party seeks relief.

                                                           40. Equity O65(1)
           stitute a direct financial benefit for pur-
           poses of vicarious infringement claim, the
           requisite causal connection must be be-              Unclean hands defense requires the
           tween the infringing activities at issue in     defendant to show that he himself has
           the case and a direct financial benefit to      been injured by the plaintiff’s conduct; evi-
           the defendant.                                  dence that the wrong was done to some
                                                           third party is insufficient.

                 O87(3.1)                                  41. Equity O65(1)
           35. Copyrights and Intellectual Property


                Plaintiff’s actual damages are a rele-          Downloading of sound recordings by
           vant consideration in determining statuto-      agent enlisted by copyright owner to iden-
           ry damages under the Copyright Act, and         tify infringing uses of copyrighted works
           because actual damages are relevant, so         did not support unclean hands defense as-
           too are the actions a plaintiff took to miti-   serted by alleged infringer, given that the
           gate those damages. 17 U.S.C.A. § 101 et        downloading did not personally injure al-
           seq.                                            leged infringer.
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                     BMG RIGHTS MANAGEMENT (US) v. COX COMMUNICATIONS                                  639
                                         Cite as 149 F.Supp.3d 634 (E.D.Va. 2015)

             Jeremy David Engle, Paul Gennari,                than through a central server. Metro–
           Steptoe & Johnson LLP, Walter Dekalb               Goldwyn–Mayer Studios, Inc. v. Grokster,
           Kelley, Jr., Hausfeld LLP, Washington,             Ltd., 545 U.S. 913, 919, 125 S.Ct. 2764, 162
           DC, for Plaintiffs.                                L.Ed.2d 781 (2005). All P2P protocols have
             Craig Crandall Reilly, Law Office of             ‘‘one thing in common: a decentralized in-
           Craig C. Reilly, Alexandria, VA, for Defen-        frastructure whereby each participant in
           dants.                                             the network (typically called a ‘peer,’ but
                                                              sometimes called a ‘node’) acts as both a
                 MEMORANDUM OPINION                           supplier and consumer of information re-
                                                              sources.’’ Columbia Pictures Indus., Inc.
             Liam O’Grady, United States District
           Judge                                              v. Fung, 710 F.3d 1020, 1024 (9th Cir.
                                                              2013). While P2P protocols have many
              In this copyright action, the putative
                                                              benefits and non-infringing uses, see Grok-
           owners of more than 1,400 musical com-
                                                              ster, 545 U.S. at 920, 125 S.Ct. 2764 (noting
           position copyrights seek to hold Cox
                                                              that P2P networks are ‘‘employed to store
           Communications, Inc. and Cox Com, LLC
                                                              and distribute files by universities, govern-
           (collectively, ‘‘Cox’’) contributorily and vi-
                                                              ment agencies, corporations, and libraries,
           cariously liable for alleged copyright in-
                                                              among others’’), they have also been har-
           fringement taking place over its high-
           speed internet service. At the close of ex-        nessed for less meritorious purposes by
           tensive discovery, the parties cross-moved         ‘‘those wanting access to pirated media,
           for summary judgment. Following oral ar-           [such as] music, movies, and television
           gument, the Court issued an Order (Dkt.            shows.’’ Columbia Pictures Indus., Inc.,
           No. 675) granting in part and denying in           710 F.3d at 1025.
           part Plaintiffs’ Motion for Partial Sum-              The BitTorrent protocol is unique in
           mary Judgment (Dkt. No. 310) and deny-             ‘‘how it facilitates file transfers.’’ Id. at
           ing Cox’s Motion for Summary Judgment              1026. BitTorrent breaks files into pieces,
           (Dkt. No. 305) for the reasons stated in           which ‘‘permits users to download lots of
           this memorandum opinion.
                                                              different pieces at the same time from
                         I. Background                        different peers.’’ Id. It also allows users to
              Cox provides high-speed internet service        begin sharing before the complete file has
           to customers nationwide. Plaintiffs BMG            downloaded, meaning ‘‘at any given time,
           Rights Management (US), LLC (‘‘BMG’’)              each user is both downloading and upload-
           and Round Hill Music LP are the putative           ing several different pieces of a file from
           owners or administrators of approximately          and to multiple other users.’’ Id. at 1027.
           1,400 musical composition copyrights.
           Plaintiffs allege users of Cox internet ser-
                                                              B. Rightscorp, Inc.
           vice employ BitTorrent, a type of peer-to-
           peer (‘‘P2P’’) file sharing, to illegally up-         Plaintiffs enlisted Rightscorp, Inc.
           load and download music files, thereby vio-        (‘‘Rightscorp’’) as their agent to identify
           lating Plaintiffs’ exclusive rights.               infringing uses of their copyrighted works.
                                                              Rightscorp’s software searches websites
           A. BitTorrent                                      that index torrent files and identifies files
             The innovation of P2P file sharing is            that appear to contain one or more of the
           that it allows ‘‘user’s computers [to] com-        Plaintiffs’ copyrighted works. Defs.’
           municate directly with each other,’’ rather        SUMF ¶ 19. A torrent file does not actual-
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           ly contain any content. Id. ¶ 18. It contains           ther provides that ‘‘[v]iolation of any terms
           metadata about the files available to be                of this AUP may result in the immediate
           distributed and other information that al-              suspension or termination of either TTT
           lows Rightscorp to contact a tracker and                access to the Service and/or [the] Cox ac-
           find peers offering torrent payloads that               count.’’ Theodore Decl. Ex. 10; Trickey
           contain the files. Id. If Rightscorp contacts           Decl. ¶ 11. Cox informs account holders of
           a peer and determines that the peer has                 the policy in subscriber agreements. Trick-
           the torrent payload, Rightscorp will record             ey Decl. ¶ 12. The terms on Cox’s website
           the date, time, the peer’s IP address, the              also incorporate the AUP’s policy by refer-
           port on the peer’s computer through which               ence. Id. ¶ 13.
           the connection was made, the torrent file’s
                                                                      Cox’s abuse department handles miscon-
           unique hash value, and the name of the
                                                                   duct on Cox’s network. Abuse ranges from
           copyrighted work. Pls.’ SAMF ¶ 7. Right-
                                                                   copyright infringement to hacking to ex-
           scorp then sends a notice of infringement
                                                                   cessive bandwidth usage. Pls.’ SUMF ¶ 17.
           to the internet service provider associated
                                                                   Cox offers copyright owners an email ad-
           with the recorded IP address. Id. Accord-
                                                                   dress, abuse@cox.net, to which they can
           ing to Plaintiffs, Rightscorp sent Cox 2.5
                                                                   send notices of infringement. Beck Decl.
           million notices corresponding to instances
                                                                   ¶ 3. Cox processes the notices it receives
           in which Cox internet users offered one of
                                                                   using a largely automated system called
           Plaintiffs’ copyrighted works for down-
                                                                   CATS—Cox Abuse Tracking System. Pls.’
           load.1 Id. ¶ 15. Plaintiffs also contend that
                                                                   SUMF ¶ 19. CATS scans the messages in
           Rightscorp downloaded more than 100,000
                                                                   the inbox and culls certain information,
           full copies of music files that violated
                                                                   such as the date of the alleged abuse, the
           Plaintiffs’ musical composition copyrights
                                                                   IP address, and so on. Beck Decl. ¶ 7. That
           from peers through Cox’s internet service.
                                                                   information is then used to create a ‘‘tick-
           Id. ¶ 10.
                                                                   et.’’ Id. ¶ 3.
           C. Cox’s Copyright Policy and Graduat-                     Three features of the CATS system are
              ed Response Procedure                                worth mentioning. First, when Cox re-
              Cox’s Acceptable Use Policy (‘‘AUP’’)                ceives multiple complaints in one day for a
           provides that account holders may not use               single account, the tickets are ‘‘rolled up,’’
           Cox’s internet service ‘‘to post, copy,                 meaning Cox counts only the first ticket.
           transmit, or disseminate any content that               Id. ¶ 8 & n.4; Zabek Decl. ¶ 9; Theodore
           infringes the patents, copyrights, trade se-            Decl. Ex. 1 at 155–56. Second, Cox imposes
           crets, trademark, moral rights, or propri-              a ‘‘hard limit’’ on the number of complaints
           ety rights of any party.’’ Theodore Decl.               a complainant can submit that will receive
           Ex. 10; Trickey Decl. ¶ 11. The AUP fur-                customer-facing action. Beck Decl. ¶ 8. If a

           1.      This number is disputed. Rightscorp asserts       payload is not a guarantee that the work
                that during the time period relevant to this         identified in a notice was in fact in the pay-
                litigation, an infringement notice issued only       load. Cox claims that over 500,000 of the 2.5
                when Rightscorp’s software confirmed that a          million notices were issued after the lawsuit
                peer was offering 100% of its payload. Right-        was filed and therefore, for at least some of
                scorp admits that beginning in December              those notices, the peer did not actually have
                2014, after the filing of this lawsuit, it began     the allegedly infringing file. Cox also argues
                sending notices when a payload contained             that Rightscorp cannot establish that it was
                anywhere between 10% and 100%. Because a             utilizing a 100% bitfield threshold during the
                torrent payload may contain hundreds of files,
                                                                     time period relevant to the suit.
                establishing that a peer is offering 10% of a
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                                            Cite as 149 F.Supp.3d 634 (E.D.Va. 2015)

           complainant exceeds the hard limit, CATS              Decl. ¶ 12 n.9. This process of sending an
           automatically sends an email informing the            email warning repeats on the third, fourth,
           complainant that the daily limit has been             fifth, sixth, and seventh complaints Cox
           reached and the tickets created from those            receives for an account within a six-month
           emails are automatically closed. Theodore             period. Theodore Decl. Ex. 17 at 11.
           Decl. Ex. 42 at 7. The default limit is 200              When Cox receives an eighth notice, it
           complaints per complainant per day, but               suspends the account and places the ac-
           Cox says it will work with a complainant to           count holder in what Cox calls a ‘‘soft-
           set a reasonable number. Id.; Zabeck Decl.            walled garden.’’ Beck Decl. ¶ 9. That
           ¶ 30. Cox claims such limits are necessary            means the account holder’s internet access
           to keep the number of complaints at a                 is temporarily limited to a single webpage
           manageable capacity for staff and to pre-             that displays a warning message. Id.; Za-
           vent a single complainant from overwhelm-             beck Decl. ¶ 9. The account holder can exit
           ing the company. Beck Decl. ¶ 10. Third,              the soft-walled garden and self-reactivate
           Cox defines its ‘‘abuse cycle’’ in 180-day            service by clicking a link on the webpage.
           periods. Theodore Decl. Ex. 17 at 2. While            Beck Decl. Ex. 3 (‘‘After deleting the files
           Cox maintains a record of its customers’              and disabling file sharing, you may click
           full ticket histories, if no complaints are           here to reactivate your service.’’ (emphasis
           received within six months from the last              omitted)); Theodore Decl. Ex. 17 at 11; id.
           complaint, the cycle restarts. Id.; Zabek             Ex. 2 at 178–79. On the ninth complaint,
           Decl. ¶ 9.                                            the account holder is again sent to the
             Cox handles tickets generated by CATS               soft-walled garden. Beck Decl. ¶ 9; Theo-
           according to its graduated response proce-            dore Decl. Ex. 17 at 11.
           dure. Beck Decl. ¶ 12; Theodore Decl. Ex.                The tenth complaint results in what Cox
           39 at 10; id. Ex. 17. This process, which             calls a ‘‘hard-walled garden.’’ Beck Decl.
           Cox does not publicize to customers, prog-            ¶ 9. The account holder is now directed to
           resses from warnings to suspensions and               a webpage with instructions to call Cox
           ultimately, the possibility of termination.           customer service. Theodore Decl. Ex. 17 at
           Theodore Decl. Ex. 17 at 11–12. Cox takes             11. When the account holder calls Cox, he
           no action on an account’s first ticket be-            or she can request reactivation. Id.; id. Ex.
           cause a ‘‘substantial percentage’’ of ac-             1 at 73. The eleventh complaint is the
           counts never receive a second complaint               same. Id. Ex. 17 at 11. The twelfth and
           within one abuse cycle. Zabek Decl. ¶ 9;              thirteenth complaints also place account
           Theodore Decl. Ex. 17 at 11; id. Ex. 39 at            holders in the hard-walled garden, but now
           13. When a second complaint arrives,                  they must speak to higher-level Cox cus-
           CATS generates an email to the account                tomer service representatives to request
           holder that includes a letter from Cox                reactivation. Id.; id. Ex. 1 at 79–80. When
           explaining the alleged infringement as well           Cox receives the fourteenth complaint in
           as the complete text of the infringement              an abuse cycle, it will review the full ac-
           notice Cox received from the copyright                count history and consider termination. Id.
           owner.2 Beck Decl. ¶ 12; Zabek Decl. ¶ 9.             Ex. 17 at 12. Termination is never auto-
           When Cox has ‘‘rolled up’’ complaints over            matic, however, and is left to the discretion
           the course of a day, CATS will only send              of Cox employees. Beck Decl. ¶ 13. In the
           the first complaint received that day. Beck           ‘‘vast majority’’ of cases, Cox says it is able

           2.     If there is no email address on record for        and moves directly to suspensions. Theodore
                the customer, Cox skips the warning stage           Decl. Ex. 17 at 12; Beck Decl. ¶ 9 n.10.
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           to address the behavior triggering the in-           deleted Rightscorp’s emails and never re-
           fringement notices during the preliminary            trieved the information from the body of
           steps and never has to reach the ‘‘drastic           those notices. Beck Decl. ¶ 20; Theodore
           measure’’ of terminating service. Zabek              Decl. Ex. 41 at 10, 12–13. The following
           Decl. ¶¶ 9, 14.                                      October, Cox claims Rightscorp ‘‘started
                                                                inundating’’ its inbox, sending as many as
           D. Cox’s Rejection of Rightscorp’s No-               24,000 notices in one day. Beck Decl. ¶ 21;
              tices                                             Zabek Decl. ¶ 33. In response, Cox blocked
              Rightscorp includes within its standard           Rightscorp. Blocking messages goes one
           infringement notice an offer of settlement.          step beyond blacklisting: now Rightscorp’s
           Specifically, the notices say, ‘‘This notice is      notices never even entered Cox’s inbox.
           an offer of settlement. If you click on the          Theodore Decl. Ex. 2 at 339–40; id. Ex. 41
           link below and login to the Rightscorp, Inc.         at 10, 13; Beck Decl. ¶ 21. When a com-
           automated settlement system, for $10.00              plainant is blacklisted, Cox still has a rec-
           [or $20.00] per infringement, you will re-           ord of the emails received and deleted.
           ceive a legal release from the copyright             When a complainant is blocked at the ser-
           owner.’’ Beck Decl. Ex. 6. As a policy, Cox          ver level, there is no record of any mes-
           does not accept or process infringement              sage received. Theodore Decl. Ex. 41 at 10.
           notices that contain settlement offers.
           Beck Decl. ¶ 17–18; Zabek Decl. ¶ 31.                E. Procedural Background
           Cox’s in-house privacy counsel set the poli-
           cy after concluding that such notices are               In November 2014, Plaintiffs filed suit
           improper and fall outside the ‘‘spirit’’ of          against Cox alleging contributory and vi-
           the DMCA. Theodore Decl. Ex. 5 at 77–78;             carious copyright infringement for direct
           Zabek Decl. ¶ 31.                                    infringements occurring between February
                                                                2012 and November 2014. As relief, Plain-
             When Cox receives a complaint with a
                                                                tiffs seek statutory damages, injunctive re-
           settlement offer, it asks the complainant
                                                                lief, fees, and costs.3 In its answer, Cox
           to conform the notice and explains that
                                                                asserted a number of defenses, including,
           the notice will not be forwarded unless
                                                                as is relevant here, eligibility for a liability-
           and until it is amended. Beck Decl. ¶ 17;
                                                                limiting safe harbor in the Digital Millenni-
           Zabeck Decl. ¶ 34. Until a complainant
                                                                um Copyright Act (‘‘DMCA’’). After exten-
           complies, Cox ‘‘blacklists’’ all complaints
                                                                sive and contentious discovery, the parties
           received from that complainant by config-
                                                                cross-moved for summary judgment. (Dkt.
           uring CATS to auto-delete messages re-
                                                                Nos. 305, 310). On October 29, 2015, the
           ceived from that complainant’s email ad-
                                                                Court ordered supplemental briefing on
           dress. Beck Decl. ¶ 17.
                                                                the limited issue of Plaintiff Round Hill
              On March 9, 2011, Cox received its first          Music LP’s standing. (Dkt. No. 501). The
           notice of infringement from Rightscorp. Id.          following day, the Court heard oral argu-
           ¶ 19. Cox asked Rightscorp to remove its             ment. The motions are now fully briefed
           settlement offers, but Rightscorp declined           and ripe for consideration.
           to do so and continued to send Cox notices.
           Zabek Decl. ¶¶ 32, 35; id. Ex. 13. On                                 II. Analysis
           March 14, Cox blacklisted Rightscorp,                  [1] Plaintiffs seek to hold Cox liable
           meaning from that point on, Cox auto-                for the direct infringing activities of in-

           3.     The First Amended Complaint elected both        clear in subsequent motions that they only
                actual and statutory damages. Plaintiffs made     seek statutory damages.
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           dividuals using Cox’s internet service.                (2014) (per curiam)) (internal quotation
           ‘‘Although the Copyright Act does not                  marks omitted). Although the Court ‘‘must
           expressly render anyone liable for in-                 draw all reasonable inferences in the light
           fringement committed by another, TTT                   most favorable to the nonmoving party, it
           doctrines of secondary liability emerged               is ultimately the nonmovant’s burden to
           from common law principles and are                     persuade [the Court] that there is indeed a
           well established in the law.’’ Grokster,               dispute of material fact.’’ CoreTel Va., LLC
           545 U.S. at 930, 125 S.Ct. 2764 (internal              v. Verizon Va., LLC, 752 F.3d 364, 370 (4th
           quotations, alteration, and citations omit-            Cir.2014). That showing requires ‘‘more
           ted). Plaintiffs invoke two theories of                than a scintilla of evidence—and not mere-
           secondary liability: contributory and vi-              ly conclusory allegations or speculation—
           carious infringement. ‘‘One infringes con-             upon which a jury could properly find in
           tributorily by inducing or encouraging                 its favor.’’ Id.
           direct infringement, and infringes vicari-
           ously by profiting from direct infringe-               B. Plaintiffs’ Motion for Partial Sum-
           ment while declining to exercise a right                  mary Judgment
           to stop or limit it.’’ Id. (citations omit-              Plaintiffs move for partial summary
           ted).                                                  judgment on two issues. First, Plaintiffs
              After setting out the applicable standard           seek a ruling that they own the copyrights
           of review, the Court addresses each motion             at issue. Second, Plaintiffs ask the Court
           for summary judgment separately, as it                 to find as a matter of law that Cox is not
           must. See Desmond v. PNGI Charles                      entitled to protection under the DMCA’s
           Town Gaming, L.L.C., 630 F.3d 351, 354                 safe harbor provisions. Cox opposes the
           (4th Cir.2011).                                        motion and asks the Court to deny the
                                                                  motion or alternatively enter summary
           A. Standard of Review                                  judgment in its favor on both issues.
              Summary judgment is appropriate when
           ‘‘there is no genuine dispute as to any                   1. Ownership
           material fact and the movant is entitled to               To establish a claim of infringement,
           judgment as a matter of law.’’ Fed. R. Civ.            Plaintiffs must establish their ownership of
           P. 56(a). ‘‘A genuine issue of material fact           the 1,421 musical composition copyrights
           exists where, after reviewing the record as            allegedly infringed.4 See Univ. Furniture
           a whole, a court finds that a reasonable               Int’l, Inc. v. Collezione Europa USA, 618
           jury could return a verdict for the nonmov-            F.3d 417, 428 (4th Cir.2010). The copy-
           ing party.’’ McAirlaids, Inc. v. Kimberly–             rights at issue can be broken down into
           Clark Corp., 756 F.3d 307, 310 (4th Cir.               four groups: (1) copyrights with certifi-
           2010). ‘‘It is an axiom that in ruling on a            cates of registration that list BMG as the
           motion for summary judgment, the evi-                  claimant; (2) copyrights with certificates of
           dence of the nonmovant is to be believed,              registration that list a BMG predecessor
           and all justifiable inferences are to be               as the claimant; (3) copyrights that BMG
           drawn in his favor.’’ Id. (alteration omit-            purchased or otherwise acquired from
           ted) (quoting Tolan v. Cotton, ––– U.S.                third parties; and (4) copyrights with cer-
           ––––, 134 S.Ct. 1861, 1863, 188 L.Ed.2d 895            tificates of registration that list Round Hill

           4.     Plaintiffs’ memorandum in support of their         subsequently withdrew one copyright in their
                motion for summary judgment states there             reply brief. See Pls.’ Reply at 5 n.3.
                are 1,422 copyrights at issue, but Plaintiffs
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           Music, LLC as the claimant and copy-             viewing court[s to] assess other relevant
           rights that Round Hill Music, LLC pur-           indicia of ownership, such as the parties’
           chased or otherwise acquired from third          intent and the terms of transfer agree-
           parties. Cox challenges Plaintiffs’ ability to   ments and other documents establishing a
           establish ownership as to each category          chain of title.’’ Univ. Furniture Int’l, Inc.,
           and instead asks the Court to enter sum-         618 F.3d at 428; see also 3-12 Nimmer on
           mary judgment on the element of owner-           Copyright § 12.11 (‘‘[A]lthough certain
           ship in its favor. See Defs.’ Opp’n at 24.       prima facie presumptions are thereby cre-
             a. Copyrights That List BMG as the             ated, the courts are free to examine the
                Claimant on the Certificate of              underlying facts and to rebut those pre-
                         Registration                       sumptions, should the facts so warrant.’’).
              [2] For this first category of copy-             The question, then, is whether Cox has
           rights, Plaintiffs have produced certificates    come forward with sufficient evidence to
           of registration that list BMG as the claim-      rebut Plaintiffs’ prima facie case of owner-
           ant. See Briggs Decl. Apps. A1–A7, A13           ship or create a genuine issue of material
           (composition titles and copyright registra-      fact as to ownership. Cox argues that testi-
           tion numbers); id. Exs. B1–B137, B391,           mony by BMG’s Vice President of Copy-
           B934 (certificates). The Copyright Act pro-      right Administration, Robert Briggs, about
           vides that ‘‘[i]n any judicial proceedings       BMG’s registration process undermines
           the certificate of a registration made be-       the presumption of validity. Specifically,
           fore or within five years after the first        Cox claims the testimony establishes that
           publication of the work shall constitute         BMG does not check to see if it owns
           prima facie evidence of the validity of the      copyrights before it registers them. In re-
           copyright and of the facts stated in the         sponse, Plaintiffs argue that Cox greatly
           certificate.’’ 17 U.S.C. § 410(c). Included in   mischaracterizes Briggs’s testimony and
           the facts entitled to the presumption of         that the testimony is insufficient to rebut
           validity is ownership. Univ. Furniture           the presumption.
           Int’l, Inc., 618 F.3d at 428. Because Plain-        During his deposition, Briggs was asked
           tiffs produced the certificates they have        whether and how BMG verifies its owner-
           met their initial burden, and the burden         ship of a copyright prior to filing a regis-
           shifts to Cox to ‘‘prove that the claimed        tration application. When asked whether
           copyrights are invalid.’’ Id. (citing M.         BMG checks to see if there is a valid
           Kramer Mfg. Co. v. Andrews, 783 F.2d             assignment agreement before filing the
           421, 434 (4th Cir.1986)).                        registration, Briggs responded, ‘‘I can’t
              Cox agrees that the copyright registra-       say specifically,’’ and ‘‘[g]enerally, this is
           tions create a rebuttable presumption of         speculation on my part but I think that
           ownership, see Defs.’ Opp’n at 25, but it        they are not checking each song.’’ Bridges
           contends that the evidence needed to rebut       Decl. Ex. 19 at 23. He also testified that he
           the presumption and shift the burden back        did not know whether BMG has or checks
           to Plaintiffs to conclusively establish own-     its files for complete documentation of
           ership is not heavy. Indeed, the Fourth          ownership following registration. But
           Circuit has cautioned that ‘‘the Copyright       Briggs also explained that when a ‘‘song is
           Office’s practice of summarily issuing reg-      delivered to our department, it’s delivered
           istrations TTT counsels against placing too      by departments who are working on an
           much weight on registrations as proof of a       understanding that there is an active
           valid copyright,’’ and has instructed ‘‘re-      agreement with that writer or client.’’ Id.
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           He also said that those active agreements         A20–A33, A36 (composition titles and reg-
           are in place before the songs are delivered       istration numbers); id. Exs. B138–B390,
           and before the applications are filed for         B392–B700, B704, B932–B933 (certifi-
           registration. And although he testified that      cates). Because BMG is not listed as the
           it was his understanding that BMG has             claimant, Plaintiffs must produce addition-
           asked for a correction of a copyright own-        al evidence of the chain of title from the
           ership after discovering errors with re-          claimant listed on the registration to BMG.
           spect to copyright ownership, Briggs did             To meet their burden, Plaintiffs have
           not know of any specific examples of that         produced both the certificates of registra-
           happening.                                        tion and the merger and acquisition agree-
              When Briggs’s testimony is read in full,       ments between BMG and the entity (or a
           it is not enough to cast doubt on BMG’s           d/b/a of the entity) listed as the claimant
           ownership. Although ‘‘a defendant sued for        on the certificates. See Briggs Decl. Exs.
           infringement ‘must simply offer some evi-         1–12. Cox makes two general challenges to
           dence or proof to dispute or deny the             the chain of title evidence. First, Cox con-
           plaintiff’s prima facie case of infringe-         tends that the Court should require the
           ment,’ ’’ Palladium Music, Inc. v. Eat-           chain of title to extend beyond the claim-
           SleepMusic, Inc., 398 F.3d 1193, 1196             ant listed on the certificate to the original
           (10th Cir.2005) (quoting Entm’t Res. Grp.,        author of the work. Second, Cox argues
           Inc. v. Genesis Creative Grp., Inc., 122          that the merger and acquisition agree-
           F.3d 1211, 1217 (9th Cir.1997)), a finding        ments produced by Plaintiffs are insuffi-
           that Briggs’s testimony is sufficient would       cient to establish chain of title because
           render the statutory presumption mean-            they do not specify the individual works
           ingless. ‘‘[M]ore than conjecture is re-          acquired. See Defs.’ Opp’n at 28 (‘‘Without
           quired to rebut the presumption,’’ 3-12           conclusive evidence of which songs it ac-
           Nimmer on Copyright § 12.11 n.28.18, and          quired through mergers, BMG cannot
           conjecture is all that Cox offers from the        prove that it owns the TTT works.’’). Nei-
           testimony. Cox has presented no ‘‘specific        ther argument is persuasive.
           evidence that rebuts the presumption of
                                                               There is no basis for Cox’s argument
           validity which attaches to a duly issue[d]
                                                             that the chain of title must relate back to
           registration.’’ Complex Sys., Inc. v. ABN
                                                             the author instead of the original claimant.
           Ambro Bank N.V., 979 F.Supp.2d 456, 470
                                                             The weight of authority supports finding
           (S.D.N.Y.2013). Because there is insuffi-
                                                             the latter sufficient. See 4-13 Nimmer on
           cient evidence in the record to rebut the
                                                             Copyright § 13.01 (‘‘The only evidence re-
           presumption, the Court grants Plaintiffs’
                                                             quired of the plaintiff, in addition to the
           motion for partial summary judgment with
                                                             registration certificate, is evidence of
           respect to the copyrights that list BMG as
                                                             plaintiff’s chain of title from the original
           the claimant on the certificate of registra-
                                                             copyright registrant.’’ (emphasis added));
           tion.
                                                             see also Montgomery Cty. Ass’n of
            b. Copyrights That List a Predecessor            Realtors, Inc. v. Realty Photo Master
               of BMG as the Claimant on the                 Corp., 878 F.Supp. 804, 809–10 (D.Md.
                  Certificate of Registration                1995) (quoting Nimmer for the proposition
             [3] The next group of copyrights lists a        that the evidence of chain of title is ‘‘from
           BMG predecessor entity as the claimant            the original copyright registrant’’), aff’d, 91
           on the certificates of registration. See          F.3d 132 (4th Cir.1996). Moreover, the only
           Briggs Decl. Apps. A8–A12, A14–A19,               case cited by Cox did not require the
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           plaintiff to establish a chain of title to the          Holy Transfiguration Monastery, Inc. v.
           author. Cox quotes language from In re                  Gregory, 689 F.3d 29, 41 (1st Cir.2012). If
           Napster, Inc. Copyright Litig., 191                     no writing is required to transfer copy-
           F.Supp.2d 1087, 1101 (N.D.Cal.2002), that               right ownership in a merger, Cox cannot
           ‘‘plaintiffs need to produce chain of title             be correct that there must be a list of the
           from the listed author to themselves.’’ But             specific copyrights acquired. See Design
           the court went on to find that the plain-               Basics, L.L.C. v. DeShano Cos., Inc., No.
           tiff’s production of an agreement between               10–14419, 2012 WL 4321313, at *4–5
           the copyright claimant and the plaintiff                (E.D.Mich.2012) (finding plaintiff estab-
           was sufficient to establish chain of title.             lished ownership with certificate of regis-
           See id.                                                 tration and proof of merger). The Court
              Cox’s second argument is that Plaintiffs             finds Plaintiffs have established ownership
           cannot establish ownership because the                  by the production of the certificates of
           merger agreements do not list the specific              registration and the relevant merger and
           copyrights acquired. Cox cites no authority             acquisition agreements.
           for the proposition that the writing used to
                                                                      Finally, Cox disputes five individual
           transfer copyrights must list the specific
                                                                   copyrights in this category. In response,
           assets acquired. Moreover, there is an ex-
                                                                   Plaintiffs withdrew their claim of owner-
           ception to the Copyright Act’s general re-
                                                                   ship as to one copyright, see Pls.’ Reply at
           quirement that the transfer of exclusive
           rights be made in writing where such a                  5 n.3 (withdrawing Exhibit B403), but ar-
           transfer occurs by ‘‘operation of law.’’ 17             gue that the remaining challenges are
           U.S.C. § 204(a). In Universal Furniture                 baseless. The Court agrees. Cox first dis-
           International, Inc. v. Collezione Europa                putes the copyright for ‘‘Call of the Zom-
           USA, the Fourth Circuit recognized that                 bie,’’ see Briggs Decl. Ex. B468, because
           ‘‘although the Copyright Act generally re-              ‘‘Bug Music’’ (a BMG predecessor) is
           quires a writing to transfer copyright own-             handwritten under ‘‘claimant’’ on the cer-
           ership, it makes exceptions for transfers               tificate of registration. Plaintiffs respond
           that occur by ‘operation of law.’ ’’ 618 F.3d           that the handwritten name is immaterial.
           at 429 (quoting 17 U.S.C. § 204(a)). The                Neither party cites any authority on this
           court went on to note that ‘‘certain of our             point. The Court need not decide whether
           sister circuits have ruled that mergers                 a handwritten notation would be sufficient
           transfer copyrights ‘by operation of law’               to undermine a claim of ownership because
           and obviate the writing requirement.’’ Id.              the unofficial copyright registration avail-
           (citing Taylor Corp. v. Four Seasons                    able on the public catalog, of which the
           Greetings, LLC, 403 F.3d 958, 963 (8th                  Court may take judicial notice,5 also lists
           Cir.2005), and Lone Ranger Television,                  Bug Music as the claimant. See Roberts
           Inc. v. Program Radio Corp., 740 F.2d                   Decl. Ex. 3. Cox next challenges the copy-
           718, 721 (9th Cir.1984)); see also Soc’y of             rights for ‘‘Hotel,’’ see Briggs Decl. Ex.

           5.     See Island Software & Comp. Serv., Inc. v.        judicial notice of true and correct copies of
                Microsoft Corp., 413 F.3d 257, 261 (2d Cir.         the Copyright Office’s online record of regis-
                2005) (‘‘The district court was entitled to take    tration TTTT’’); Liberty Media Hldgs., LLC v.
                judicial notice of Microsoft’s federal copyright    Tabora, No. 12 Civ. 2234, 2012 WL 2711381,
                registrations, as published in the Copyright        at *1 n. 11 (S.D.N.Y. July 9, 2012) (‘‘[T]he
                Office’s registry.’’); White v. Alcon Film Fund,    public catalog entry with respect to that cer-
                LLC, 52 F.Supp.3d 1308, 1316 n. 9 (N.D.Ga.          tificate is a proper subject of judicial notice in
                2014) (‘‘While a copy of the original registra-     the absence of any dispute or reason to dis-
                tion would be preferable, courts have taken         pute its accuracy.’’).
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           B568, ‘‘Clones,’’ see id. Ex. B704, and ‘‘Co-         Exs. B702–B703, B705–B931, and the un-
           caina,’’ see id. Ex. B587, on the ground              derlying purchase agreements, see id. Exs.
           that a BMG predecessor is not listed as a             8–9, 13–105.6 Additionally, Robert Briggs
           claimant on the registrations. The certifi-           testified to the acquisitions in his declara-
           cate for ‘‘Hotel’’ lists Hitco South as a             tion. See Briggs Decl. ¶¶ 41–125. Cox chal-
           claimant. Hitco South is a d/b/a of BMG               lenges the chain of title with respect to the
           predecessor Hitco Music Publishing LLC.               works listed in Appendices A37, A40, A42,
           Id. ¶ 37. The certificate for ‘‘Clones’’ lists        A44–A46, A48–A52, A54, A57–A60, A62–
           Trio Music Co Inc., which is a d/b/a of               A64, A66, A73, A74, A76, A77, A79, A83–
           BMG predecessor, Bug Music, Inc. See id.              A89, A91, A95–A98, and A100–102 7 to the
           ¶ 36. Plaintiffs concede that the exhibit             Briggs declaration. Defs.’ Opp’n at 29–30.
           with the registration for ‘‘Cocaina’’ is ‘‘in-        Because Cox does not raise a challenge to
           advertently missing two pages,’’ but they             those works in the appendices not listed,
           ask the Court to take judicial notice of the          the Court grants summary judgment to
           unofficial copyright registration. Pls. Reply         Plaintiffs as to the ownership of those
           at 5 n.3. The unofficial registration lists           works.8
           Music of Windswept, see Roberts Decl. Ex.
           2, which is a d/b/a of BMG predecessor                   Cox first argues that ‘‘BMG relies on
           Windswept Holdings, LLC. See Briggs                   incomplete co-publication or administration
           Decl. ¶ 38. The Court takes judicial notice           agreements.’’ Id. at 29. These agreements,
           of the public catalog entry.                          Cox argues, ‘‘grant BMG various rights to
                                                                 songs in attachments that do not exist’’
              There is no genuine issue of material
                                                                 and thus ‘‘do not establish chain of title
           fact as to the ownership of these copy-
                                                                 because they do not identify the objects of
           rights. Accordingly, the Court grants
                                                                 a transfer.’’ Id. As examples, Cox cites two
           Plaintiffs’ motion with respect to this cate-
                                                                 agreements that assign exclusive rights to
           gory of copyrights, with the exception of
                                                                 copyrights to be listed in an attachment
           the withdrawn claim of ownership as to
                                                                 but that fail to include the named attach-
           Exhibit B403.
                                                                 ment. Relatedly, Cox argues that BMG
                c. Copyrights That BMG Purchased                 ‘‘relies on vague agreements that also fail
                    or Otherwise Acquired from                   to identify the works.’’ Id. As examples,
                           Third Parties                         Cox cites agreements that give BMG
             [4] The third category consists of                  rights ‘‘to any and all compositions,’’ to
           copyrights that BMG (or a BMG predeces-               works acquired after the agreement, and
           sor) purchased or otherwise acquired from             to ‘‘all musical compositions, including but
           third parties. Plaintiffs have produced the           not limited to’’ works listed in a non-exis-
           certificates of registration for these works,         tent schedule. Id. These agreements, Cox
           see Briggs Decl. Apps. A35, A37–102; id.              contends, fail to establish a chain of title

           6.     There are three types of agreements: (1)            Court’s copy of the Briggs Declaration ends at
                Asset Purchase Agreements (or Songwriter              Appendix A102.
                and/or Copyright Purchase Agreements),
                which transfer ownership; (2) Publishing and     8.     Specifically, summary judgment is granted
                Co-Publishing Agreements, which convey                as to ownership of the works listed in A35,
                some percentage of the copyright; and (3)             A38, A39, A41, A43, A47, A53, A55, A61, A65,
                Exclusive Administration Agreements.                  A67–A72, A75, A78, A80–A82, A90, A92–A94,
           7.      Cox’s brief challenges ownership of works          and A99.
                listed in Appendix A103 and A104, but the
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           because they likewise do not identify which            2011 WL 1641978, at *4 (S.D.N.Y. Apr. 29,
           songs were transferred.                                2011) (finding declaration testimony suffi-
              [5] Plaintiffs respond that each agree-             cient to supplement the chain of title).
           ment meets the Copyright Act’s require-                Cox’s mere denial of these facts is not
           ment that transfers of ownership by as-                sufficient to rebut the presumption of own-
           signment or exclusive license be signed                ership or to create a genuine issue of
           and in writing. See 17 U.S.C. § 204(a).                material fact.9 See id. (‘‘A non-movant ’may
           There is no requirement, they argue, that              not rely simply on conclusory statements
           each work be identified, and they note that            or on contentions that the affidavits sup-
           Cox does not cite to a single case or other            porting the motion are not credible, or
           authority supporting such a proposition.               upon mere allegations or denials of the
           Indeed, courts often say that ‘‘a qualifying           nonmoving party’s pleading.’’ (quoting
           writing under Section 204(a) need not con-             Ying Jing Gan v. City of N.Y., 996 F.2d
           tain an elaborate explanation nor any par-             522, 532–33 (2d Cir.1993)).
           ticular ‘magic words,’ but must simply                   Finally, Cox argues that ‘‘BMG relies on
           show an agreement to transfer copyright.’’             a few agreements that allegedly trans-
           Metro. Reg’l Info. Sys., Inc. v. Am. Home              ferred to rights from others [sic] to BMG
           Realty Network, Inc., 722 F.3d 591, 600                but those other parties appear nowhere in
           (4th Cir.2013) (citations omitted) (internal           the agreements.’’ Defs.’ Opp’n at 30 (citing
           quotation marks omitted); see also Effects             Briggs Decl. Exs. A76, A77, A89, A95,
           Assocs., Inc. v. Cohen, 908 F.2d 555, 557              A101). It is not entirely clear what Cox is
           (9th Cir.1990) (‘‘It doesn’t have to be the            arguing here, but Plaintiffs address each
           Magna Charta; a one-line pro forma state-              challenged agreement in their reply and
           ment will do.’’).                                      identify the parties to the transfers. Pls.’
              Even assuming that to satisfy the chain-            Reply at 6–7.
           of-title requirement Plaintiffs must submit              Accordingly, the Court grants summary
           evidence of the specific copyrights covered            judgment to Plaintiffs on the ownership of
           by each agreement, they have done so via               the copyrights in this category.
           declaration testimony. For instance, Cox
                                                                  d. Copyrights That List Round Hill Mu-
           cites Exhibit 29, a Music Publishing Ad-
                                                                      sic, LLC as the Claimant and Copy-
           ministration Agreement between John
                                                                      rights That Round Hill Music, LLC
           Legend Music, Inc. and BMG, as an exam-
                                                                      Purchased or Otherwise Acquired
           ple of an incomplete agreement. The
                                                                      from Third Parties
           agreement gives BMG exclusive rights to
           administer the musical compositions listed                The final category consists of (1) copy-
           in Annex 1, but Annex 1 is left blank. In              rights that list Round Hill Music, LLC as
           his declaration, Briggs testified that the             the claimant on the copyright registrations
           agreement relates to the twenty-five works             and (2) copyrights that Round Hill Music,
           listed in Appendix A25. See Briggs Decl.               LLC purchased or otherwise acquired
           ¶¶ 60–61. There is similar testimony relat-            from third parties. Gillis Decl. Apps. A1–
           ing to each transaction. Cf. Arista Records            A5 (composition titles and registration
           LLC v. Lime Grp. LLC, No. 06 CV 5936,                  numbers); id. Exs. C1–C22 (certificates);

           9.     Cox raises multiple evidentiary objections to    representative to testify to corporate docu-
                Briggs’s declaration. See Defs.’ Opp’n at 2–3.     ments regarding the ownership issues raised
                The Court has reviewed the declaration and         and the Court finds his declaration reliable.
                overrules these objections. Briggs is a proper
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           id. Exs. RH4–RH7 (purchase agreements).               able. Section 101 defines a ‘‘transfer of
           Cox argues that Plaintiff Round Hill Music            copyright ownership’’ as ‘‘an assignment,
           LP (not to be confused with Round Hill                TTT exclusive license, or any other convey-
           Music, LLC) is not the legal or beneficial            ance TTT of any of the exclusive rights
           owner of any exclusive right associated               comprised in a copyright, whether or not it
           with these copyrights and thus has no                 is limited in time or place of effect, but not
           standing to sue for infringement under the            including a nonexclusive license.’’ 17 U.S.C.
           Copyright Act.10                                      § 101. In other words, ‘‘either an assign-
                                                                 ment (which transfers legal title to the
              [6] Section 501(b) of the Copyright Act
                                                                 transferee) or an exclusive license (which
           provides that only ‘‘[t]he legal or beneficial
                                                                 transfers an exclusive permission to use to
           owner of an exclusive right under a copy-
                                                                 the transferee) qualifies as a ‘transfer’ of a
           right is entitled TTT to institute an action
                                                                 right in a copyright for purposes of the
           for any infringement of that particular
                                                                 Act.’’ Minden Pictures, Inc., 795 F.3d at
           right committed while he or she is the
                                                                 1003. Moreover, each exclusive right is
           owner of it.’’ 17 U.S.C. § 501(b); see also
                                                                 further divisible and ‘‘any subdivision of
           X–It Prods., L.L.C. v. Walter Kidde Porta-
                                                                 any right specified by section 106, may be
           ble Equip., Inc., 155 F.Supp.2d 577, 602
                                                                 transferred TTT and owned separately.’’ 17
           (E.D.Va.2001). Section 106 lists the six ex-
                                                                 U.S.C. § 201(d)(2).
           clusive rights available under a copyright.11
           That list is exhaustive. Minden Pictures,                [7] Plaintiffs do not contend that
           Inc. v. John Wiley & Sons, Inc., 795 F.3d             Round Hill Music LP was assigned legal
           997, 1002 (9th Cir.2015). Thus, a plaintiff           title to any of the copyrights at issue. They
           with the right to take actions that are               claim Round Hill Music LP was given an
           merely incidental to copyright ownership              exclusive license to use each of the copy-
           without any accompanying interest in one              rights at issue for any and all of the exclu-
           of § 106’s rights does not have standing to           sive rights listed in § 106. Thus, it must be
           bring an infringement claim. See Silvers v.           the case that Round Hill Music LP not
           Sony Pictures Entm’t, Inc., 402 F.3d 881,             only ‘‘received one or more divisible
           885 (9th Cir.2005). Although § 106 is ex-             rights,’’ but also that its interest in those
           haustive, each exclusive right is transfer-           rights is exclusive—that is, Round Hill

           10. Cox also disputes Plaintiffs’ assertion that           or other transfer of ownership, or by rental,
             the certificates of registration as to the first         lease, or lending;
             sub-category of Round Hill copyrights list               (4) in the case of literary, musical, dramat-
             ‘‘Round Hill Music, LLC’’ as the claimant.               ic, and choreographic works, pantomimes,
             Because the Court agrees with Cox that                   and motion pictures and other audiovisual
             Round Hill Music LP is without standing,                 works, to perform the copyrighted work
             there is no need to reach this argument.                 publicly;
           11.    Section 106 provides, in pertinent part:            (5) in the case of literary, musical, dramat-
                                                                      ic, and choreographic works, pantomimes,
                 Subject to sections 107 through 122, the
                 owner of copyright under this title has the          and pictorial, graphic, or sculptural works,
                 exclusive rights to do and to authorize any          including the individual images of a motion
                 of the following:                                    picture or other audiovisual work, to dis-
                 (1) to reproduce the copyrighted work in             play the copyrighted work publicly; and
                 copies or phonorecords;                              (6) in the case of sound recordings, to per-
                 (2) to prepare derivative works based upon           form the copyrighted work publicly by
                 the copyrighted work;                                means of a digital audio transmission.
                 (3) to distribute copies or phonorecords of        17 U.S.C. § 106.
                 the copyrighted work to the public by sale
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           Music LP is ‘‘entitled to enforce them.’’12          age the affairs of the Partnership,’’ id. at
           HyperQuest, Inc. v. N’Site Solutions, Inc.,          29, and a Copyright Administrator, defined
           632 F.3d 377, 383 (7th Cir.2011). To make            as ‘‘any Person (including an Affiliate of
           this determination, the Court looks to ‘‘the         the General Partner) employed or retained
           substance of what was given to the licen-            by the Partnership and at the Partner-
           see and not the label that the parties put           ship’s expense, to provide services in con-
           on the agreement.’’ Warner/Chappell Mu-              nection with the administration, prepara-
           sic, Inc. v. Blue Moon Ventures, No. 3:10–           tion and processing or any similar service
           1160, 2011 WL 662691, at *4 (M.D.Tenn.               of any copyrights owned by, or assigned
           Feb. 14, 2011); see also HyperQuest, Inc.,           to, the Partnership.’’ Id. at 6. With respect
           632 F.3d at 383.                                     to the role of Copyright Administrator, the
              Three agreements are relevant here.               Fund Agreement also states:
           The first is the Asset Purchase Agreement              The Partnership will retain the Copy-
           that assigned the copyrights from Round                right Administrator, which may be an
           Hill Music, LLC, the entity listed on the              Affiliate of the General Partner, to pro-
           copyright registrations, to Round Hill Mu-             vide the services of administrator of the
           sic Royalty Fund LP (the ‘‘Fund’’). See                copyrights owned by or assigned to the
           Gillis Decl. Ex. RH1. It is undisputed that            Partnership. The Copyright Administra-
           the Fund owns legal title to the copyrights.           tor will be responsible for day-to-day
              The second is the Third Amended and                 administrative services relating to the
           Restated Agreement of Limited Partner-                 Partnership’s portfolio and will be reim-
           ship of Round Hill Music Royalty Fund                  bursed for its services.
           LP (the ‘‘Fund Agreement’’). See id. Ex.
                                                                Id. at 31.
           RH2. The Fund Agreement created a lim-
           ited partnership consisting of a general               The third relevant agreement, executed
           partner—Round Hill Music Royalty Fund                the same day as the Fund Agreement, is
           GP LP (the ‘‘General Partner’’)—and a                the Management Agreement. See Gillis
           sole limited partner—Joshua Gruss. The               Decl. Ex. RH3. The Management Agree-
           Fund Agreement states that ‘‘management              ment was entered into by the Fund, the
           of the Partnership shall be vested exclu-            General Partner, and Plaintiff Round Hill
           sively in the General Partner TTT and the            Music LP. Id. at 1. It appointed Round
           General Partner shall have full control              Hill Music LP as the Management Compa-
           over the business, assets, conduct and af-           ny, and within that role, the Copyright
           fairs of the Partnership.’’ Id. at 32. The           Administrator. See id. (appointing Round
           agreement also contemplates the appoint-             Hill Music LP to ‘‘provide management or
           ment of a Management Company ‘‘to man-               other services, including acting as a Copy-

           12. After reviewing the parties’ initial argu-           identify the strongest case law in support of
             ments on this issue, the Court determined that         their respective readings of the rights, if
             additional briefing was necessary on the limit-        any, conveyed by the agreements attached
             ed issue of standing. The Court issued an              as Exhibits RH2 and RH3 to the Gillis
             Order directing the parties to                         Declaration; and (3) address the breadth of
               (1) address what, if any, exclusive right(s)         the principle barring challenges by alleged
               Round Hill Music, LP holds with respect to           third-party infringers to transfers of exclu-
               the copyrights at issue and the nature of the        sive rights (i.e., the Eden Toys principle)
               transfer of those rights from Round Hill             and its application to Defendants’ standing
               Music Royalty Fund, LP (i.e., whether there          challenge in this case.
               was an assignment of title to an exclusive         (Dkt. No. 501).
               right(s) or an exclusive license granted); (2)
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           right Administrator’’). The agreement fur-         tor as an entity ‘‘provid[ing] services in
           ther states that ‘‘[i]n performing the ser-        connection with the administration, prepa-
           vices pursuant to [the] Agreement, the             ration and process or any similar service of
           Manager [Round Hill Music LP] TTT shall            any copyrights’’ owned by the Partnership.
           have the same rights, duties and obli-             Id. at 6. While Plaintiffs are correct that
           gations, and shall observe the same stan-          administration agreements can transfer a
           dards of care, as would be applicable to the       sufficient ownership interest, there is no
           General Partner if it (and not the Manag-          other indication aside from the word ‘‘ad-
           er) were providing the services performed          ministration’’ that suggests the agreement
           by the Manager.’’ Id.                              transferred any interest at all. There is no
              Plaintiffs rely on the combined effect of       reference, for example, to any of the ac-
           the Fund Agreement’s grant to the Gener-           tions contemplated by § 106—for example,
           al Partner of ‘‘full control over the TTT          the right to reproduce or distribute. In-
           assets’’ and the Management Agreement’s            stead, the word ‘‘administration’’ is sur-
           statement that Round Hill Music LP ‘‘shall         rounded by language that paints Round
           have the same rights, duties and obli-             Hill Music LP’s role as administrative and
           gations’’ as the General Partner. Putting          acting directly on behalf of the Partner-
           the two together, Plaintiffs claim the Fund        ship.
           gave Round Hill Music LP ‘‘the exclusive             The language in the agreements aligns
           ownership rights to administer and exploit         much more closely with Cox’s contention
           the copyrights,’’ Gruss Decl. ¶ 3, including       that the Fund merely hired Round Hill
           ‘‘all of the exclusive rights described in TTT     Music LP ‘‘to provide services related to
           § 106.’’ Pls.’ Supp. Memo. in Supp. at 4.          copyrights it did not own’’ and that ‘‘[t]his
                                                              employment did not result in any assign-
              [8] The Court disagrees. The plain lan-
                                                              ment of rights to’’ Plaintiff. Defs.’ Opp’n at
           guage of the agreements only gives Round
                                                              25. As the Southern District of New York
           Hill Music LP the ‘‘same rights’’ as the
                                                              recently noted, ‘‘Considering the preemi-
           General Partner—including ‘‘full control
                                                              nence of exclusive rights in copyright
           over the TTT assets’’—when it is ‘‘providing
                                                              cases, it is axiomatic that if the TTT Agree-
           the services performed by the Manager.’’
                                                              ment did not specify that exclusive rights
           Thus, the language begs the question of
                                                              were being transferred, no such rights
           what ‘‘services’’ the Manager, and within
                                                              were in fact transferred.’’ John Wiley &
           that role, the Copyright Administrator,
                                                              Sons, Inc. v. DRK Photo, 998 F.Supp.2d
           performs with respect to the copyrights.
                                                              262, 278 (S.D.N.Y.2014).
           There is little, if any, indication that these
           ‘‘services’’ performed contemplated the               [9, 10] Even assuming that the agree-
           transfer any legally cognizable right in any       ments did convey a license to use the
           of the copyrights, much less that such             copyrights, there is no indication that the
           permission was exclusive. The Fund                 license was exclusive. An exclusive license
           Agreement explains the role of Copyright           is transferred when an ‘‘individual or enti-
           Administrator as ‘‘provid[ing] the services        ty is given the right to use a copyright’’
           of administrator of copyrights.’’ Gillis Decl.     and ‘‘the owner promises not to convey
           Ex. RH2 at 31. But the responsibilities            that right to anyone outside of those per-
           listed are ‘‘day-to-day administrative ser-        sons or entities who have an interest in the
           vices’’ for which the Copyright Administra-        license.’’ Warner/Chappell Music, Inc.,
           tor will be reimbursed. Id. Similarly, the         2011 WL 662691, at *4 (quoting I.A.E.,
           agreement defines Copyright Administra-            Inc. v. Shaver, 74 F.3d 768, 775 (7th Cir.
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           1996)). In other words, there is no indica-      question was whether a later written me-
           tion of a ‘‘further promise[ ] that the same     morialization of the transfer was sufficient
           permission will not be given to others.’’        to comply with the writing requirement.
           Minden Pictures, Inc., 795 F.3d at 1005          Because the purpose § 204 is to resolve
           (quoting I.A.E., Inc., 74 F.3d at 775) (em-      disputes between transferors and transfer-
           phasis added).                                   ees, those courts concluded that ‘‘it would
              Plaintiffs also rely on the declaration of    be anomalous to permit a third party in-
           Joshua Gruss, the managing member of             fringer to invoke this [writing] provision
           the Round Hill entities, in which he testi-      against the licensee.’’ Eden Toys, Inc. v.
           fied that ‘‘[s]ince the Management Agree-        Florelee Undergarment Co., Inc., 697 F.2d
           ment was executed, Round Hill LP has             27, 36 (2d Cir.1982); see also X–It Prods.,
           acted as the exclusive worldwide adminis-        155 F.Supp.2d at 603–04 (citing Eden Toys
           trator of the copyrights and other proper-       and collecting cases that support the prop-
           ties owned by the Partnership. No other          osition that ‘‘an oral assignment of copy-
           individual or entity, including the Partner-     right rights is an effective assignment if
           ship, has acted or has the right to act as       the oral assignment is subsequently memo-
           the administrator of its copyrights, includ-     rialized in a written document’’).
           ing those at issue in this case.’’ Gruss Decl.      Plaintiffs ask the Court to apply this
           ¶ 5. As noted above, the Court looks to the      principle broadly and hold that Cox, as an
           substance of the agreements to determine         alleged third-party infringer, cannot chal-
           whether standing exists and not the post         lenge the assignment between the Fund
           hoc label placed on the agreements by            and Round Hill Music LP because there is
           Plaintiffs. The plain language of the agree-     no dispute between them regarding what
           ments does not support finding a transfer        was transferred. The Court does not be-
           of any exclusive license. Nor is Gruss’s         lieve the principle extends as far as Plain-
           declaration particularly helpful, as it does     tiffs urge. Cox is not invoking § 204’s
           not shed any light on what the role of           writing requirement or relying on the in-
           ‘‘exclusive worldwide administrator’’ en-        formality of the transfer to avoid liability.
           tails.                                           Rather, it is pointing to the language with-
              Rather than attempting to explain what        in the written agreements and asking if
           language in the agreements conveyed an           that language conveyed the type of right
           exclusive license, Plaintiffs devoted most of    necessary to support standing to bring an
           their initial briefing to challenging Cox’s      infringement claim. See Marya v. War-
           ability to make its standing challenge.          ner/Chappell Music, Inc., No. CV13–4460,
           Plaintiffs cite a line of cases that say an      131 F.Supp.3d 975, 1001–02, 2015 WL
           alleged third-party infringer cannot at-         5568497, at *19 (C.D.Cal. Sept. 22, 2015)
           tempt to avoid liability by arguing that an      (‘‘Eden Toys do[es] not stand for the prop-
           underlying assignment of copyright failed        osition that so long as an alleged transfer-
           to comply with the Copyright Act’s writing       or and transferee say that a transfer oc-
           requirement. See 17 U.S.C. § 204(a) (‘‘A         curred, a third-party has no choice but to
           transfer of copyright ownership TTT is not       take them at their word. Rather, these
           valid unless an instrument of conveyance         cases stand for the proposition that, if
           TTT is in writing and signed by the owner        there is evidence of a transfer, the infor-
           of the rights conveyed TTTT’’). The princi-      mality with which the transfer was con-
           ple arose out of cases where there had           ducted does not prevent the transferee
           been an oral transfer of rights and the          from asserting an interest in the copy-
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           right.’’). Accordingly, Cox’s challenge is          Charter Commc’ns, Inc., 393 F.3d 771, 775
           permissible.                                        (8th Cir.2005).
              Because Round Hill Music LP does not
                                                                  To benefit from any one of the safe
           co-own the copyrights or have an exclusive
                                                               harbors, Congress imposed certain thresh-
           license for any use of the copyrights, it is
           without standing to bring this infringe-            old requirements on all ISPs. As is rele-
           ment action. Accordingly, the Court finds           vant here, a service provider must demon-
           Round Hill Music LP cannot proceed in               strate that it has ‘‘adopted and reasonably
           this action and its claims for infringement         implemented, and informed subscribers
           against Cox are dismissed.                          and account holders of the service provid-
                                                               er’s system or network of, a policy that
             2. DMCA Safe-Harbor Defense                       provides for the termination in appropriate
              BMG also moves for summary judgment              circumstances of subscribers and account
           on Cox’s entitlement to its DMCA safe-              holders of the service provider’s system or
           harbor defense.13 Specifically, BMG con-            network who are repeat infringers.’’ 17
           tends Cox cannot meet the statute’s                 U.S.C. § 512(i)(1)(A). The requirement
           threshold requirement that internet ser-            that service providers implement a repeat-
           vice providers (‘‘ISPs’’) adopt and reason-         infringer policy is a ‘‘fundamental safe-
           ably implement a repeat infringer policy.           guard for copyright owners’’ and ‘‘essential
           After providing an overview of the
                                                               to maintain[ing] the strong incentives for
           DMCA’s safe harbor provisions, the Court
                                                               service providers to prevent their services
           turns to Cox’s policies and practices.
                                                               from becoming safe havens or conduits for
                    a. Statutory Framework
                                                               known repeat copyright infringers.’’ Capi-
              Title II of the DMCA, titled the Online          tol Records, Inc. v. MP3tunes, LLC, 821
           Copyright Infringement Liability Limita-            F.Supp.2d 627, 637 (S.D.N.Y.2011) (inter-
           tion Act, was Congress’s answer to the
                                                               nal quotation marks omitted).
           potentially enormous liability that ISPs
           faced for the materials being transmitted              The dispute in this case centers on what
           over their networks. See Viacom Int’l, Inc.         it means for a service provider to ‘‘reason-
           v. YouTube, Inc., 676 F.3d 19, 27 (2d Cir.          ably implement[ ]’’ its policy. The phrase is
           2013). To that end, Congress created four           not defined in the statute. In deciphering
           safe harbors that protect ISPs from liabili-        its meaning, courts have split the phrase
           ty for copyright infringement when their
                                                               into two separate requirements: (1) wheth-
           involvement is limited to certain activi-
                                                               er a service provider implemented its poli-
           ties—transitory digital networking com-
                                                               cy; and (2) whether that implementation
           munications, system caching, information
                                                               was reasonable. See, e.g., Perfect 10, Inc. v.
           residing on systems or networks at the di-
           rection of users, and information location          CCBill LLC, 488 F.3d 1102, 1109–10 (9th
           tools. See 17 U.S.C. §§ 512(a)–(d). Cox in-         Cir.2010). Courts have identified several
           vokes the first of these safe harbors,              ‘‘threshold functions’’ that must be present
           § 512(a), which ‘‘limits the liability of ISPs      in order for a service provider to imple-
           when they do nothing more than transmit,            ment any repeat-infringer policy. Disney
           route, or provide connections for copy-             Enters., Inc. v. Hotfile Corp., No 11–20427,
           righted material—that is, when the ISP is           2013 WL 6336286, at *21 (S.D.Fla. Sept.
           a mere conduit for transmission.’’ In re            20, 2013). For example, a service provider

           13. Because Round Hill Music LP is without             to BMG as the sole plaintiff.
             standing, the remainder of this opinion refers
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           must have a ‘‘working notification system’’   not an element of copyright infringement,
           and ‘‘a procedure for dealing with DMCA-      it is relevant to a service provider’s deci-
           compliant notifications,’’ and the provider   sion whether appropriate circumstances
           must ‘‘not actively prevent copyright own-    exist to terminate a user’s account.’’).
           ers from collecting information needed to        Even if a service provider has knowl-
           issue such notifications.’’ CCBill LLC, 488   edge of infringement, however, the Act
           F.3d at 1109. Additionally, the penalty im-   requires termination only in ‘‘appropriate
           posed for repeat infringers (when appro-      circumstances.’’ The inclusion of this
           priate circumstances exist) must be termi-    phrase implies that there are some circum-
           nation and not some lesser consequence.       stances under which termination of a re-
           See Capital Records, LLC v. Escape Me-        peat infringer may not be appropriate. For
           dia Grp., Inc., No. 12–cv–6646, 2015 WL       example, courts have noted that there are
           1402049, at *9 (S.D.N.Y. March 25, 2015).     different degrees of online copyright in-
              A service provider’s implementation is     fringement, from the inadvertent and non-
           reasonable if it terminates a repeat in-      commercial, to the willful and commercial.
           fringer’s access in appropriate circum-       See H.R. Rep. 105–551, pt. 2 at 61 (1998).
           stances. See CCBill LLC, 488 F.3d at          Another common benchmark, taken from
           1111. This raises the dual questions of       the House and Senate Reports, is that
           when a service provider should consider a     ‘‘those who repeatedly or flagrantly abuse
           subscriber or account holder to be a re-      their access to the Internet through disre-
           peat infringer and when circumstances         spect for intellectual property rights of
           become appropriate for termination. As        others should know that there is a realistic
           Professor Nimmer points out, ‘‘repeat in-     threat of losing that access.’’ Id. Thus,
           fringer’’ could have a number of mean-        appropriate circumstances clearly cover
           ings. On one end of the spectrum, an in-      account holders who repeatedly or fla-
           fringer could be ‘‘an adjudicated copyright   grantly infringe copyright, particularly in-
           infringer.’’ See 4-12B Nimmer on Copy-        fringement of a willful and commercial na-
           right § 12B.10. In the middle may be          ture. See Capitol Records, LLC v. Vimeo,
           someone against whom an unadjudicated         LLC, 972 F.Supp.2d 500, 514 (S.D.N.Y.
           charge has been made, but the service
                                                         2013). Equally clear is that this standard
           provider has actual knowledge of, or is
                                                         cannot be applied in such a way as to
           aware of facts and circumstances suggest-
                                                         impose an affirmative duty on service pro-
           ing, infringement. On the other end, an
                                                         viders to monitor for infringement. See 17
           infringer could be someone against whom
                                                         U.S.C. § 512(m)(1) (‘‘Nothing in this sec-
           ‘‘an unadjudicated charge of infringement
                                                         tion shall be construed to condition the
           has been preferred.’’ Id. Although Cox
                                                         applicability of subsections (a) through (d)
           asks the Court to hold that one can be
                                                         on TTT a service provider monitoring its
           labeled an infringer only when adjudicat-
                                                         service or affirmatively seeking facts indi-
           ed as such, the Court finds no support in
                                                         cating infringing activity TTTT’’); CCBill
           caselaw for that interpretation. Instead,
                                                         LLC, 488 F.3d at 1111 (‘‘To identify and
           courts have articulated a knowledge stan-
                                                         terminate repeat infringers, a service pro-
           dard: ‘‘A policy is unreasonable TTT if the
                                                         vider need not affirmatively police its
           service provider failed to respond when it
                                                         users for evidence of repeat infringe-
           had knowledge of the infringement.’’
                                                         ment.’’).
           CCBill LLC, 488 F.3d at 1113 (emphasis
           added); see also MP3tunes, LLC, 821             [11] In sum, the Court finds § 512(i)
           F.Supp.2d at 638 (‘‘While knowledge is        covers, ‘‘at a minimum, instances where a
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           service provider is given sufficient evi-           subscribers, Cox’s use of a ‘‘hard limit’’ on
           dence to create actual knowledge of bla-            the number of infringement notices it will
           tant, repeat infringement by particular             receive in a twenty-four-hour period is ad-
           users, particularly infringement of a willful       ditional evidence of unreasonableness.
           and commercial nature.’’14 Perfect 10, Inc.         Third, BMG argues that Cox does not
           v. Cybernet Ventures, Inc., 213 F.Supp.2d           terminate access of repeat infringers un-
           1146, 1177 (C.D.Cal.2002); Corbis Corp. v.          der appropriate circumstances.
           Amazon.com, 351 F.Supp.2d 1090, 1104                   The Court finds this last ground suffi-
           (W.D.Wash.2004) (‘‘Because it does not              cient, standing alone, to bar Cox from
           have an affirmative duty to police its users,       invoking the DMCA’s protection.15 Accord-
           failure to properly implement an infringe-          ingly, there is no need to decide whether
           ment policy requires a showing of instanc-          Cox’s refusal to receive notices with settle-
           es where a service provider fails to termi-         ment agreements or its ‘‘hard limit’’ on the
           nate a user even though it has sufficient           number of notices received might also ren-
           evidence to create actual knowledge of that         der Cox ineligible for a safe harbor. In
           user’s blatant, repeat infringement of a            assessing Cox’s termination of repeat in-
           willful and commercial nature.’’).                  fringers, the Court divides Cox’s practices
                                                               into two time periods: before the fall of
                          b. Application                       2012 and after.
              [12] BMG identifies three reasons why                   i. Cox Did Not Implement a
           Cox did not reasonably implement its re-                      Repeat Infringer Policy
           peat infringer policy. First, BMG says Cox                        Before Fall 2012
           cannot be said to be implementing its poli-            The record conclusively establishes that
           cy if it refuses to accept Rightscorp’s in-         before the fall of 2012 Cox did not imple-
           fringement notices merely because they              ment its repeat infringer policy. Instead,
           contain settlement offers. And even be-             Cox publicly purported to comply with its
           yond Cox’s blanket refusal to forward               policy, while privately disparaging and in-
           those notices to its account holders, BMG           tentionally circumventing the DMCA’s re-
           argues it is also unreasonable that Cox             quirements. Cox employees followed an
           makes no effort to record the other infor-          unwritten policy put in place by senior
           mation contained in the notices, such as            members of Cox’s abuse group by which
           the date and time of the infringing activity        accounts used to repeatedly infringe copy-
           and the account holder’s IP address. Sec-           rights would be nominally terminated, only
           ond, BMG argues that with millions of               to be reactivated upon request. Once these

           14. In Perfect 10, Inc. v. CCBill LLC, the Ninth       cific repeat infringements by its account hold-
             Circuit imported the knowledge standard in           ers. That is enough under an actual knowl-
             § 512(c)’s safe harbor into its determination        edge standard.
             of whether the service provider was reason-
             ably implementing its repeat infringer policy.    15. Because Cox was not acting on or receiv-
             488 F.3d at 1113–14. Section 512(c) contains        ing Rightscorp’s notices, the Court’s analysis
             both an actual knowledge and a red-flag             focuses on how Cox treated notices of in-
             knowledge standard. At the summary judg-
                                                                 fringement received from third-party copy-
             ment hearing, Cox argued that the knowledge
                                                                 right owners. As the Ninth Circuit has noted,
             standards contained in § 512(c) cannot be
                                                                 ‘‘Section 512(i)(1)(A) requires an assessment
             applied in this case because Cox is relying on
                                                                 of the service provider’s ‘policy,’ not how the
             § 512(a) not § 512(c). There is no need to
             decide whether red-flag knowledge would be          service provider treated a particular copyright
             sufficient in this case because, as explained       holder.’’ CCBill LLC, 488 F.3d at 1113.
             below, Cox had subjective knowledge of spe-
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           accounts were reactivated, customers were          Customer had several email warnings,
           given clean slates, meaning the next notice        followed by suspensions up to TOC
           of infringement Cox received linked to             [technical operations center] and was
           those accounts would be considered the             terminated December 8th. Voicemail call
           first in Cox’s graduate response procedure.        back on January 7th shows I explained
             Numerous emails in the record, portions          to the account holder [redacted] they
           of which are reproduced below, support             could request review in 6 months for
           these conclusions. Even viewed in the light        possible reactivation. ICOMS notes
           most favorable to Cox, the Court finds the         shows [redacted] called about the bill
           contents of the emails cannot be explained         January 11 and got reinstated. We al-
           away. Cox’s attempts to recast the emails
                                                              ready have a DMCA complaint TTTT
           are unavailing. Nor can they be pinned on
           low level employees whose views had no           Id. Ex. 19. In other words, this customer
           real significance. The name that appears         had progressed through Cox’s graduated
           again and again on these emails is Jason         response procedure and Cox had ultimate-
           Zabek, Cox’s Manager of Customer Abuse           ly determined appropriate circumstances
           Operations.                                      existed to terminate this customer for six
              In 2009, Zabek sent an email titled,          months. One month into the termination,
           ‘‘DMCA Terminations,’’ to the abuse group        the customer was reactivated and soon
           that said:                                       thereafter, Cox received another notice of
              As we move forward in this challenging        infringement tied to the account.
              time we want to hold on to every sub-
              scriber we can. With this in mind if a          This was Zabek’s response:
              customer is terminated for DMCA, you            This is fine. If asked, I would have al-
              are able to reactivate them after you           lowed them back on. We have been turn-
              give them a stern warning about violat-         ing customers back on who have been
              ing our AUP and the DMCA. We must
                                                              terminated for DMCA complaints. As
              still terminate in order for us to be in
                                                              long as our process of warnings, sus-
              compliance with safe harbor but once
                                                              pen[sion], then termination is followed,
              termination is complete, we have ful-
                                                              we can turn the customer back on and
              filled our obligation. After you reactivate
              them the DMCA ‘counter’ restarts; The           start the DMCA count over. During this
              procedure restarts with the sending of          time, as we try to keep customers and
              warning letters, just like a first offense.     gain more RGU’s [revenue generating
              This is to be an unwritten semi-policy          units] it is important to try and balance
              TTT We do not talk about it or give the         the needs of the company with the pro-
              subscriber any indication that reactivat-       tection of the network. DMCA does not
              ing them is normal. Use your best judg-         hurt the network like DOS attack, spam
              ment and remember to do what is right           or hacking. It is not something we ad-
              for our company and subscribers. TTT            vertise however.
              This only pertains to DMCA violations.
                                                            Id.
              It does not pertain to spammers, hack-
              ers, etc.                                       In a series of emails in June of that
           Theodore Decl. Ex. 18.                           year, a customer service representative
              In a January 2010 email exchange, Za-         asked whether she needed the abuse
           bek was asked by an employee what to do          group’s ‘‘okay’’ to reactivate an account
           in the following scenario:                       after ‘‘a customer is terminated for the
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           first time.’’ Id. Ex. 20. Zabek responded:         something of the sort.’’ Id. Ex. 24. This
           ‘‘If it is for DMCA you can go ahead and           was Zabek’s instruction:
           reactivate. Any other issues (hacking,               You can of course suspend but I would
           spam, etc.) give[ ] us a heads up and we             suggest that you just forward any
           can all look at it together.’’ Id. In the same       DMCA complaints to his email. TTT He
           chain, another Cox employee wrote: ‘‘[I]n            just has to realize that we must send
           99% of the cases we are going to turn the            these to him. If a copyright holder
           customer back on. TTT [I]n that 1% of the            dec[ides] to sue, then we want to make
           cases, the customer will not reactivate at           sure the customer knows why TTTT And
           their own discretion.’’ Id.                          it is the law. Make sense? I am not
              In August, a representative sent the              concerned about DMCA and not ready
           abuse group an email to confirm that, after          to terminate a CB customer for it TTT
           a customer is terminated and then reacti-            yet. It does not cause a big problem on
           vated, the next complaint Cox received ‘‘is          the network. Not like spam, Dos attacks,
           to be treated as a brand new complaint’’             hacking, etc. do TTT The customer is
           and the customer is to be ‘‘given a clean            doing this on purpose. I just know it (I
           slate.’’ Id. Ex. 21. Zabek responded:                can feel it) and is not owned IMO. They
              Internal info only. Do not forward. After         just want to steal stuff TTTT
              termination of DMCA, if you do suspend          Id. (emphasis added).
              someone for another DMCA violation,                In another March email, a representa-
              you are not wrong. However, if the cus-         tive emailed Zabek: ‘‘Here is another ex-
              tomer has a cox.net email we would like         ample of a customer that I consider a[ ]
              to start the warning cycle over, hold for       habitual abuser. In a year was terminated
              more, etc. A clean slate if you will. This      twice and turned back on. I suspended him
              way, we can collect a few extra weeks of        again since no e-mail address and accord-
              payments for their account. ;-) Once the        ing to procedure he start over [sic] in the
              customer has been terminated for                process.’’ Id. Ex. 45 (emphasis added). Za-
              DMCA, we have fulfilled the obligation          bek responded, ‘‘It is fine. We need the
              of the DMCA safe harbor and can start           customers.’’ Id. In an April exchange, a
              over. TTT We have some leeway here.             customer service representative sent this
              But know that once a termination hap-           inquiry: ‘‘This is the customers [sic] third
              pens, we have fulfilled ‘‘safe harbor.’’        termination. He is waiting call [sic]. What
              These are not in our procedures as we           do I tell him when I call him?’’ Id. Ex. 22.
              do not make this information publicly           Zabek wrote, ‘‘DMCA = reactivate,’’ and
              known.                                          then by separate email, ‘‘You can make
           Id.; see also id. Ex. 2 at 201, 222 (confirm-      him wait a day or so if you want. ;-)[.]’’ Id.
           ing that the process would begin anew                In August, Brent Beck, a software engi-
           following reactivation).                           neer, wrote, ‘‘I understand that recently
              In March 2011, a customer service rep-          the termination procedure has been re-
           resentative sent Zabek an email, saying:           laxed a bit, so as to involve suspending the
           ‘‘Spoke to the customer this morning and           customer’s modem instead of removing the
           he flat out is refusing to do anything on his      services (since most are reactivated, this
           side and insists nothing is coming from it         was faster and easier).’’ Id. Ex. 46. In the
           despite multiple tickets. TTT If possible,         same email chain, Zabek wrote, ‘‘Remem-
           please give me some insight on where we            ber that we must terminate to receive
           should go from this point; ie suspension or        protection under the save [sic] harbor
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           amendment.’’ Id. Joseph Sikes, Cox’s Sen-        that Congress intended service providers
           ior Lead Abuse Engineer, added, ‘‘Yep,           to have a policy in place that would end or
           right, we sure do. But I don’t believe the       discontinue the accounts of repeat infring-
           TOC is actually terminating the service,         ers, not something short of that such as
           completely removing it in ICOMS. They            limiting repeat infringers’ user privileges.’’
           are just clicking Terminate and Update           Capital Records, LLC, 2015 WL 1402049,
           Ticket, which shows a Termination in the         at *10 (emphasis added). That is exactly
           Customers Ticket History.’’ Id.                  what Cox did. In Zabek’s words, ‘‘DMCA
              A January 2012 AOL instant messenger          = reactivate.’’ Theodore Decl. Ex. 22. Al-
           conversation between Sikes and Beck dis-         though Cox asserts that ‘‘its policy has
           cussed the meaning of the term, ‘‘soft ter-      always been to terminate account holders
           minate.’’ Id. Ex. 13. When asked what a          in appropriate circumstances,’’ Defs.’
           ‘‘soft term’’ was, Sikes explained: ‘‘basical-   Opp’n at 22, that bare assertion is not
           ly, a suspension that is called a termination    enough to defeat summary judgment.
           with the likelihood of reactivation.’’ Id.          The Fourth Circuit has said that the
           Then he said, ‘‘for DMCA—we don’t want           immunity granted by Congress to service
           to loose [sic] the revenue.’’ Id. And in         providers ‘‘is not presumptive’’ and is to be
           response to further questions from Beck,         ‘‘granted only to innocent service provid-
           Sikes said, ‘‘this is a relatively new process   ers.’’ ALS Scan, Inc. v. RemarQ Cmtys.,
           that we’ve been doing for the past year,         Inc., 239 F.3d 619, 625 (4th Cir.2001) (in-
           again, to retain revenue.’’ Id. Sikes warned     ternal quotation marks omitted). The
           Beck that the ‘‘Hard/Soft verbiage stays         emails in the record strip Cox of any inno-
           amongst us only. TTT It’s kind of an ‘under      cence. They make clear that it was Cox’s
           the table’ procedure, again, to preserve         policy to intentionally circumvent the
           revenues, when we were loosing [sic] Sub-        DMCA. Despite having a repeat-infringer
           scribers, but it only happens about once         policy on the books, Cox’s implementation
           per month.’’ Id. Finally, a February 2012        rendered the policy an ‘‘absolute mirage.’’
           email from a Cox employee to the abuse           In re Aimster Copyright Litig., 252
           group said, ‘‘I was chatting with Daryl and      F.Supp.2d 634, 659 n. 18 (N.D.Ill.2002),
           it seems no one has let them know in SAN         aff’d, 334 F.3d 643 (7th Cir.2003); see also
           that DMCA Terms are not really Termi-            MP3Tunes, LLC, 821 F.Supp.2d at 637
           nations any longer.’’ Id. Ex. 52 (emphasis       (‘‘Thus, service providers that purposefully
           added).                                          TTT fail to terminate users despite their
                                                            persistent and flagrant infringement are
             To implement the repeat infringer policy
                                                            not eligible for protection under the safe
           contemplated by § 512(i), the penalty im-
                                                            harbor.’’). In sum, no reasonable juror
           posed by service providers must be termi-
                                                            could find that Cox implemented a repeat-
           nation. Terminate means ‘‘[t]o put an end
                                                            infringer policy before the fall of 2012.
           to; to bring to an end.’’ Black’s Law Dictio-
           nary (10th ed. 2014). Service providers           ii. Cox Did Not Reasonably Implement
           cannot skirt the termination requirement              Its Repeat Infringer Policy After
           by imposing something short of complete                       the Fall of 2012
           termination of a subscriber or account              In October 2012, Cox added two addi-
           holder. The District Court for the South-        tional suspension steps to its graduated
           ern District of New York recently exam-          response procedure. See Theodore Decl.
           ined the DMCA’s termination requirement          Ex. 39 at 10–13. BMG concedes that
           and reasoned that the ‘‘definition suggests      around the same time that Cox adopted
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           these new procedures, Cox abandoned its             BMG had, the Court could not grant sum-
           tacit ‘‘DMCA = reactivate’’ policy. Now             mary judgment. An inference that Cox was
           when Cox terminated a customer, it meant            not reasonably implementing its policy
           complete termination of access for six              may be drawn from the numbers. But
           months.16 The problem, BMG contends, is             ‘‘that conclusion is not compelled by the
           that in place of the fake terminations, Cox         evidence.’’ Perfect 10, Inc. v. Giganews,
           stopped terminating customers altogether.           Inc., 993 F.Supp.2d 1192, 1197 (C.D.Cal.
           In other words, now that termination                2014).
           would mean losing a customer, BMG alleg-
           es Cox would not terminate even when                   BMG has also presented evidence of
           Cox knew that a customer was repeatedly             specific instances in which Cox did not
           and blatantly violating copyrights. As evi-         terminate account holders despite knowing
           dence, BMG points to (1) the drop-off in            that they were using Cox’s service to re-
           the number of terminations following the            peatedly infringe. For instance, in a March
           policy shift; and (2) emails documenting            2014 exchange, a customer service repre-
           specific instances in which Cox personnel           sentative wrote, ‘‘Customer has been told
           did not terminate account holders despite           multiple times that he needs to secure his
           having knowledge that the account holder            open wireless router. He has also been
           was repeatedly infringing.                          warned that the next complaint can result
              The numbers bear out BMG’s first argu-           in termination of service.’’ Roberts Decl.
           ment. From January 2010 until August                Ex. 6. Sikes responded, ‘‘Yep, this is their
           2012, Cox terminated an average of 15.5             absolute last chance to either secure their
           account holders a month. Theodore Decl.             wireless router and/or remove ALL P2P
           Ex. 39 at 25–27. Between September 2012             clients from their systems. Next complaint
           and November 2014 when this suit was                = 6 month termination.’’ Id. A few weeks
           filed, Cox terminated an average of 0.8             later, the same service representative
           accounts per month, with a total of 22              emailed to say, ‘‘Last ticket TTT customer
           terminations.17 Id. In that same period,            was warned that further complaints would
           Cox took approximately 711,000 customer-            result in termination. We have received an
           facing actions—meaning Cox issued 711,-             additional complaint.’’ Id. Ex. 5.
           000 email warnings and suspensions—in
                                                                  Sikes responded:
           response to alleged infringements. Id.
           That number does not include the number                [I]t looks like the Customer suspected
           of first complaints Cox received for each              that their wireless network was the cul-
           account because Cox takes no action on                 prit. I assume you also covered the like-
           those. Cox also admits that of the 22 ter-             ly possibility that it could also be a
           minated accounts, 17 of those had also                 BitTorrent client running on one of their
           either failed to pay their bills on time or            computers? If this was not covered thor-
           were excessive bandwidth users. Pls.’                  oughly in the last call with them, please
           SUMF 66, 68. Were these numbers all                    advise them that securing their wireless

           16. The emails from this period evidence a             terminate, for real. He’s been out of the loop,
             shift to real terminations. In a 2012 email,         for a while. We’ll get him on the same page.’’
             Sikes wrote, ‘‘Now, when we terminate Cus-           Id.
             tomers, we REALLY terminate the Customer
             (for 6 months).’’ Theodore Decl. Ex. 23. And      17. In the three months after the suit was filed,
             in the same email chain, he wrote, ‘‘[Employ-       Cox terminated an average of 11.6 customers
             ee] may not have been aware that we now             per month. Theodore Decl. Ex. 39 at 27.
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             network obviously did not work. So, the           them, there’s not much more we can do,
             BitTorrent client is running on one of            but this should also be noted in the work
             their computers (their child’s, etc.) and         log notes.
             they need to uninstall it. This customer        Id.18 After a service representative re-
             pays us over $400/month and if we ter-          sponded that the customer had been told
             minate their service, they will likely can-     about file sharing and torrents, Sikes de-
             cel the rest of their services. Every ter-      cided, ‘‘Please suspend this Customer, one
             minated Customer becomes lost revenue           LAST time.’’ Id.
             and a potential Detractor to our Net               In May, a representative sent an email
             Promoter Score. We should make abso-            to the abuse group that said, ‘‘Request for
             lutely certain that we have covered each        termination review—Cats Ticket 19991279.
             and every possibility with them (‘‘to the       This is the 3rd time to the 404 number.
             bitter end’’) before we terminate them.         Was warned on last call that next offense
             If all of this has been covered in detail,      would result in termination review. Notes
             then please go ahead and terminate              indicate that customer was advised to re-
             their internet service for this complaint.      move file sharing program on last call.’’
           Id. The rep responded, ‘‘Looks like PTP           Theodore Decl. Ex. 49. Sikes responded,
           programs were discussed back on ticket            ‘‘Since this Customer knows ‘it’s his fault’,
           15711339 (Which was also a final suspen-          [sic] please ask this Customer what he will
           sion as well).’’ Id. Sikes responded,             do to prevent this from happening again
              That was back in October 2013 [approxi-        and note it in the ticket work log. Then let
              mately five months earlier]. We can’t          him know that one more complaint will
              expect our Customers to know and re-           result in a 6 month Termination.’’ Id.
              member as much as we do about this                In June, a senior engineer in the abuse
              stuff, especially if the account holder is     group said this about a customer who had
              not the one using BitTorrent. TTT On           been given a final suspension and advised
              this Customer’s last suspension TTT, at        to remove all P2P file-sharing programs:
              the beginning of this month (March 5th),       ‘‘This customer will likely fail again, but
              did you also explain that they should          let’s give him one more change [sic]. [H]e
              still check all of the computers in their      pays 317.63 a month.’’ Id. Ex. 34. Also in
              household for BitTorrent clients and to        June, a customer service representative
              speak with other members of their              emailed the abuse group about a different
              household TTT about running/installing         customer, saying, ‘‘This customer is well
              BitTorrent and downloading/sharing             aware of his actions and is upset that ‘after
              files? You only mentioned their wireless       years of doing this’ he is now getting
              network in your work log notes. On final       caught. Customer was advised to shop
              suspensions, we need to be as detailed         sharing, check his wireless and remove his
              as possible on the work log notes, show        PTP programs.’’ Id. Ex. 47. Sikes respond-
              that we have covered EVERYTHING                ed, ‘‘Please advise this Customer that this
              with the Customer. On 404 suspensions          is their final termination & reactivation. If
              for DMCA, this is our last ditch effort to     we receive one more complaint, we will,
              save the Customer. Obviously, if they          regretfully, not be able to provide them
              don’t care and don’t want to help us help      with data service for 6 months.’’ Id.

           18. ‘‘404’’ refers to the area code in Atlanta,     or she was required to speak with Cox’s high-
             Georgia. This means the customer had been         level customer service representatives. Theo-
             through the final suspension steps where he       dore Decl. Ex. 1 at 79–80.
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              Thus, BMG has identified specific in-                Although Cox was under no duty to
           stances in which Cox knew accounts were              monitor for infringement, Cox did not
           being used repeatedly for infringing activi-         have leeway to wait until an account hold-
           ty yet failed to terminate. Cox does not             er was adjudicated as an infringer to find
           seriously challenge these examples. Label-           that circumstances were appropriate for
           ing them as ‘‘nothing more than conjecture           termination. As explained above, the
           and hyperbole,’’ Cox argues that these               Court disagrees that a repeat infringer
           ‘‘snippets of conversations do not show              policy applies only to those who have been
           what actions call centers actually took
                                                                held liable in a copyright suit. Rather, an
           against accounts.’’ Defs.’ Opp’n at 22. Cox,
                                                                account holder must be considered an in-
           of course, is careful never to assert that
                                                                fringer, at minimum, when the service
           these customers were in fact terminated.
                                                                provider has actual knowledge that the ac-
           As BMG notes in its reply, ‘‘no conjecture
                                                                count holder is using its services for in-
           is required—not one of these subscribers
                                                                fringing purposes. Nor do service provid-
           or their abuse ticket numbers can be found
           on the list of terminated subscribers Cox            ers have complete discretion to define
           did produce.’’ Pls.’ Reply at 11. n.7.               ‘‘appropriate circumstances.’’ Appropriate
                                                                circumstances arise when an account hold-
             Instead, Cox hangs its hat on the notion
                                                                er is repeatedly or flagrantly infringing
           that an ‘‘infringer’’ is someone who has
                                                                copyrights. Thus, when Cox had actual
           been adjudicated an infringer in court.
                                                                knowledge of particular account holders
           Working from that baseline, Cox argues
           that ‘‘as a matter of choice and not obli-           who blatantly or repeatedly infringed, the
           gation, Cox applies its process to mere              responsibility shifted to Cox to terminate
           accusations involving its accounts.’’ Defs.’         their accounts.
           Opp’n at 15–16. In other words, Cox’s poli-
           cy goes above and beyond what the DMCA                  [13] Cox makes the additional argu-
           requires, so its failure to act based on             ment that knowledge of infringement can-
           notices of infringement cannot render Cox            not be established by notices submitted by
           ineligible for the safe harbor’s protection.         copyright holders.19 Cox claims such no-
           Cox also argues that by not defining ‘‘ap-           tices are unreliable for a variety of rea-
           propriate circumstances’’ Congress left it           sons. There is conflicting authority as to
           to the service provider to make its own              whether notices of infringement should be
           determination of when such circumstances             considered evidence sufficient to give an
           exist.                                               ISP knowledge of a user’s infringement.

           19. Section § 512(c)(3)(A) lists the elements           Verizon Internet Servs., Inc., 351 F.3d 1229,
             that copyright owners must include in a noti-         1234–37 (D.C.Cir.2003). Despite this, Cox
             fication of claimed infringement. Section             concedes that it still requests the information
             512(a), the safe harbor on which Cox relies, is       specified in § 512(c)(3)(A) from copyright
             the only safe harbor that does not reference          owners. Defs.’ Opp’n at 18 (‘‘While Section
             the notification provision in § 512(c). The ab-       512(a) does not call for notifications by com-
             sence of the notification provision ‘‘make            plainants or their processing by ISPs, Cox
             senses where an ISP merely acts as a conduit          asks for information that a different provi-
             for infringing material—rather than directly          sion, Section 512(c)(3), specifies, because that
             storing, caching, or linking to infringing ma-
                                                                   is widely familiar.’’). It should also be noted
             terial—because the ISP has no ability to re-
                                                                   that the tickets in the emails discussed above
             move the infringing material from its system
                                                                   were a result of notices that Cox deemed
             or disable access to the infringing material.’’
                                                                   DMCA-compliant and had forwarded on to its
             In re Charter Commc’ns, 393 F.3d at 776; see
             also Recording Indus. Assoc. of Am., Inc. v.          account holders.
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           See Disney Enters., Inc., 2013 WL               amounts to knowledge of blatant copyright
           6336286, at *22 (collecting cases and noting    infringement may be difficult, it requires,
           that ‘‘there is some disagreement as to         at a minimum, that a service provider who
           whether such notices equate to knowledge        receives a notice of a copyright violation be
           of a user’s actual infringement’’). Whether     able to tell merely from looking at the
           or not DMCA-compliant notices are suffi-        user’s activities, statements, or conduct
           cient, standing alone, to establish a service   that copyright infringement is occurring.’’
           provider’s knowledge for purposes of the        Corbis Corp., 351 F.Supp.2d at 1104–05. It
           statutory safe harbor, they are ‘‘powerful      is clear that Cox was able to tell from
           evidence of a service provider’s knowl-         these account holders’ statements and con-
           edge.’’ UMG Recordings, Inc. v. Shelter         duct that infringement was occurring. Yet,
           Capital Partners LLC, 718 F.3d 1006, 1020       Cox continued to provide service.
           (9th Cir.2013).
              Moreover, the account holders refer-            [15] Implementation of a repeat-in-
           enced in the emails above had already           fringer policy is ‘‘unreasonable when ser-
           been through Cox’s entire graduated re-         vice providers fail[ ] to terminate users
           sponse procedure. That means Cox had            who ‘repeatedly or blatantly infringe copy-
           received, not one or two, but at least four-    right.’ ’’ Capitol Records, LLC v. Vimeo,
           teen infringement notices tied to their ac-     LLC, 972 F.Supp.2d 500, 514 (S.D.N.Y.
           counts in a six-month period. And Cox           2013) (quoting CCBill, 488 F.3d at 1109).
           customer service representatives worked         Cox has not come forward with any evi-
           with the customers on each of their four        dence that would raise a genuine issue of
           ‘‘hard-walled garden’’ suspensions to iden-     material fact as to whether it has done so.
           tify the cause of the infringement no-          Accordingly, BMG is entitled to summary
           tices—including the possibilities of mal-       judgment on Cox’s safe-harbor defense. If
           ware, an unsecured wireless network, or a       Cox is determined to be liable for contribu-
           file-sharing program on another computer        tory or vicarious copyright infringement,
           in the household. By the time an account        BMG will not be limited in the remedies it
           holder reaches the end of Cox’s graduated       seeks.
           response procedure, the chance that the
           account holder is not a willful infringer has   C. Defendants’ Motion for Summary
           substantially lessened.                            Judgment
              [14] Finally, and critically, the emails        [16] Cox moves for summary judgment
           in the record reveal that Cox had knowl-        on five grounds: (1) whether there is evi-
           edge that at least some of its account          dence of direct infringement by third par-
           holders were intentionally and repeatedly       ties; (2) whether there is evidence of Cox’s
           infringing. See, e.g., Theodore Decl. Ex. 47    contributory infringement; (3) whether
           (‘‘This customer is well aware of his ac-       there is evidence of Cox’s vicarious liabili-
           tions and is upset that ‘after years of doing   ty; (4) whether BMG failed to mitigate its
           this’ he is now getting caught. Customer        damages; and (5) whether BMG’s unclean
           was advised to shop sharing, check his          hands bar its claims. After a careful review
           wireless and remove his PTP programs.’’         of the record in the light most favorable to
           (emphases added)); id. Ex. 49 (‘‘This Cus-      BMG, the Court finds summary judgment
           tomer knows ‘it’s his fault’ TTTT’’ (empha-     on any of the first four grounds is inappro-
           sis added)). As one court explained, ‘‘[a]l-    priate. Issues of material fact remain for
           though efforts to pin down exactly what         the jury to decide at trial. The Court finds
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           Cox’s unclean hands defense fails as a            network—for example, a neighbor access-
           matter of law.                                    ing an unsecured wireless network or a
                                                             babysitter on a Friday night.
             1. Direct Copyright Infringement by                The Court disagrees with Cox’s articula-
                Third Parties                                tion of what is required of a copyright
              BMG cannot hold Cox liable for contrib-        owner in a secondary liability suit. First,
           utory or vicarious infringement absent evi-       imposing a rule that would require copy-
           dence of underlying direct infringement.          right owners to litigate John Doe lawsuits
           See Softech Worldwide, LLC v. Internet            before bringing claims of secondary liabili-
           Tech. Broad. Corp., 761 F.Supp.2d 367, 375        ty would undermine a key purpose of sec-
           (E.D.Va.2011); U–Haul Int’l, Inc. v.              ondary liability claims. As the Supreme
           WhenU.com, Inc., 279 F.Supp.2d 723, 731           Court explained, ‘‘When a widely shared
           (E.D.Va.2003). Direct infringement re-            service or product is used to commit in-
           quires proof of (1) ownership of a valid          fringement, it may be impossible to en-
           copyright and (2) copying. Copying is es-         force rights in the protected work effec-
           tablished when any of the exclusive rights        tively against all direct infringers, the only
           listed in § 106 are violated. See 17 U.S.C.       practical alternative being to go against
           § 501(a) (‘‘Anyone who violates any of the        the distributor of the copying device for
           exclusive rights of the copyright owner TTT       secondary liability on a theory of contribu-
           is an infringer of the copyright TTTT’’). In      tory or vicarious liability.’’ Grokster, 545
           the complaint, BMG alleged that its exclu-        U.S. at 929–30, 125 S.Ct. 2764; see also
           sive rights of reproduction and distribu-         Aimster, 334 F.3d at 645.
           tion, see §§ 106(1), (3), ‘‘are directly in-         Second, Cox’s argument ignores the fact
           fringed each time a Cox subscriber without        that BMG may establish direct infringe-
           authorization uploads or downloads                ment using circumstantial evidence that
           through the Cox system a recording that           gives rise to an inference that Cox account
           embodies a composition.’’ Am. Compl. at           holders or other authorized users accessed
           12. Cox claims there is no evidence in the        its service to directly infringe. See Capitol
           record to support that allegation.                Records, Inc. v. Thomas, 579 F.Supp.2d
               a. Level of Specificity Required              1210, 1225 (D.Minn.2008) (‘‘[D]irect proof
              It is undisputed that BMG has not iden-        of actual dissemination is not required by
           tified a specific individual Cox account          the Copyright Act. Plaintiffs are free to
           holder who utilized a BitTorrent protocol         employ circumstantial evidence to attempt
           on Cox’s internet service to upload or            to prove [a violation].’’). As explained more
           download music files that infringed BMG’s         fully below, Rightscorp claims to have
           copyrights. Cox believes this is a critical       identified 2.5 million instances of Cox
           deficiency in BMG’s evidence. In Cox’s            users making BMG’s copyrighted works
                                                             available for download, and Rightscorp it-
           view, BMG should have brought John Doe
                                                             self downloaded approximately 100,000 full
           lawsuits and used subpoenas to establish
                                                             copies of BMG’s works using Cox’s service.
           at least one account holder as a direct
                                                             BMG has presented more than enough
           infringer. Cox argues Rightscorp’s identifi-
                                                             evidence to raise a genuine issue of materi-
           cations of IP addresses associated with
                                                             al fact as to whether Cox account holders
           Cox accounts is insufficient to establish
                                                             directly infringed its exclusive rights.
           that any infringing act was committed by a
           Cox account holder rather than some third           [17] Cox tries to counter this by argu-
           party who tapped into the account holder’s        ing that BMG cannot rely solely on evi-
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           dence compiled by Rightscorp because di-      579 F.Supp.2d at 1215 (‘‘[A] copyright
           rect infringement requires a showing of       owner’s authorization of an investigator to
           volitional conduct by a third party. See      pursue infringement does not authorize
           CoStar Grp., Inc. v. LoopNet, Inc., 373       the investigator to validate the third par-
           F.3d 544, 551 (4th Cir.2004) (‘‘[W]e con-     ty’s unlawful conduct.’’ (internal quota-
           clude that Netcom made a particularly ra-     tions and alteration omitted)); Howell, 554
           tional interpretation of § 106 when it con-   F.Supp.2d at 985. Thus, the fact that
           cluded that a person had to engage in         Rightscorp caused over 100,000 downloads
           volitional conduct—specifically, the act of   of the copyrighted works is sufficient to
           constituting infringement—to become a         meet the volition requirement.
           direct infringer.’’); see also Cartoon Net-      Finally, Cox makes much of the distinc-
           work LP, LLLP v. CSC Holdings, Inc.,          tion between infringement by the individu-
           536 F.3d 121, 131 (2d Cir.2008). Cox          al named on the account and infringement
           claims a plaintiff cannot rely on evidence    by other users with access to Cox service.
           of its own agent’s volition. Courts have      Cox overstates the import of the distinc-
           routinely rejected the argument that evi-     tion. Taking a scenario posed by Cox at
           dence of infringement gathered by a copy-     oral argument, it is typical for each mem-
           right owner’s investigative agent cannot      ber of a multimember household to access
           be used to establish infringement. See,       the internet via an agreement between
           e.g., Warner Bros. Records, Inc. v. Walk-     Cox and one individual in the household.
           er, 704 F.Supp.2d 460, 467 (W.D.Penn.
                                                         Certainly, evidence that any one of those
           2010) (‘‘It is undisputed that MediaSentry
                                                         users infringed would be sufficient, not-
           [the copyright holder’s investigator] down-
                                                         withstanding the fact that the individual’s
           loaded actual copies of nine of the Copy-
                                                         name does not appear on the bill. While
           righted Recordings from Defendant’s
                                                         identity is a key issue in many individual
           computer, establishing unauthorized dis-
                                                         infringement suits, it has little relevance in
           tribution as to those nine recordings.’’);
                                                         a large-scale secondary liability suit. On
           Thomas, 579 F.Supp.2d at 1216 (‘‘The
                                                         the other hand, Cox’s liability for infringe-
           Court holds that distribution to Media-
                                                         ment over its network is not boundless.
           Sentry can form the basis of an infringe-
                                                         Cox is free to present evidence at trial that
           ment claim.’’); Atl. Recording Corp. v.
                                                         might weaken any inference raised by
           Howell, 554 F.Supp.2d 976, 985 (D.Ariz.
                                                         BMG’s evidence of infringement. For in-
           2008) (accepting that plaintiffs had proved
                                                         stance, Cox can present evidence of the
           actual distribution of the copyrighted
                                                         prevalence of stolen access to wireless net-
           sound recordings that plaintiffs’ agent had
                                                         works or what it believes to be Right-
           downloaded); Interscope Records v. Lead-
                                                         scorp’s imprecise methods of identifying
           better, No. C05–1149, 2007 WL 1217705,
                                                         IP addresses.
           at *4 (W.D.Wash. Apr. 23, 2007) (finding
           proof that MediaSentry downloaded copy-               b. The Distribution Right
           righted works was evidence of direct in-         Cox devotes most of its argument to the
           fringement). Where a copyright owner has      scope of § 106(3)’s distribution right, argu-
           not licensed its agent to authorize distri-   ing that BMG’s evidence of Cox account
           bution or reproduction, the agent’s down-     holders making copyrighted works avail-
           loading of the works is not authorized and    able for download is insufficient to show
           thus does not run afoul of the general        distribution. Cox asserts that BMG must
           proposition that a copyright owner cannot     show actual dissemination of the copy-
           infringe his own copyright. See Thomas,       righted works and that BMG has failed to
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           do so. BMG responds that a ‘‘making avail-          public had ever used it. The Fourth Circuit
           able’’ definition of distribution is the law in     disagreed.
           the Fourth Circuit, but that even under an              After stating the general principle that
           ‘‘actual distribution’’ standard, there is suf-     ‘‘[i]n order to establish ‘distribution’ of a
           ficient evidence to establish infringement          copyrighted work, a party must show that
           of its distribution right.                          an unlawful copy was disseminated ‘to the
                                                               public,’ ’’ id. at 203 (citing Nat’l Car Rental
             Section 106(3) grants ‘‘the owner of
                                                               v. Computer Assocs., 991 F.2d 426, 434
           copyright TTT the exclusive rights to TTT
                                                               (8th Cir.1993)), the court held:
           distribute copies or phonorecords of the
                                                                   When a public library adds a work to its
           copyrighted work to the public by sale
                                                                   collection, lists the work in its index or
           or other transfer of ownership, or by
                                                                   catalog system, and makes the work
           rental, lease, or lending.’’ 17 U.S.C.
                                                                   available to the borrowing or browsing
           § 106(3). The right was ‘‘largely dor-
                                                                   public, it has completed all the steps
           mant’’ before the emergence of file-shar-
                                                                   necessary for distribution to the public.
           ing technology. Peter S. Menell, In
                                                                   At that point, members of the public can
           Search of Copyright’s Lost Ark: Inter-
                                                                   visit the library and use the work. Were
           preting the Right to Distribute in the
                                                                   this not to be considered distribution
           Internet Age, 59 J. Copyright Soc’y 1, 6
                                                                   within the meaning of § 106(3), a copy-
           (2011). As copyright owners have increas-               right holder would be prejudiced by a
           ingly relied on the distribution right in               library that does not keep records of
           the digital age, district courts and acade-             public use, and the library would unjust-
           mia alike have split on how to define                   ly profit by its own omission.
           distribution.
                                                               Id.
              One source of disagreement among                    The Fourth Circuit has never returned
           courts is the question of how to under-             to its holding in Hotaling and thus has not
           stand early cases that discussed the distri-        had the opportunity to consider whether
           bution right in contexts far afield from            evidence that sound recordings were made
           online file sharing. The most commonly              available for download without authoriza-
           cited case in this debate comes from the            tion via BitTorrent would be enough to
           Fourth Circuit. In Hotaling v. Church of            show distribution. Cf. Menell, supra, at 8
           Jesus Christ of Latter-Day Saints, 118              (noting that Hotaling ‘‘arose in arcane cir-
           F.3d 199 (4th Cir.1997), the church ob-             cumstances far removed from the file-
           tained an authorized copy of the plaintiffs’        sharing context’’). BMG contends that Ho-
           copyrighted research materials for its              taling announced a broadly applicable
           main library’s collection. The church then          ‘‘making available’’ definition of distribu-
           made unauthorized microfiche copies of              tion that applies equally to file-sharing and
           the research and sent the copies to its             that the Court is bound by that definition.
           branch libraries. Upon discovering a copy           While the Court is bound by Fourth Cir-
           at one of the branches, the copyright own-          cuit precedent, the Court does not read
           ers sued, alleging a violation of his distri-       Hotaling as broadly as BMG urges.
           bution right. Because the library did not              The Hotaling court announced the defi-
           keep records of who used the microfiche,            nition of distribution when it said, ‘‘In or-
           the church argued that the plaintiffs could         der to establish ‘distribution’ of a copy-
           not establish distribution because there            righted work, a party must show that an
           was no evidence that a member of the                unlawful copy was disseminated ‘to the
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           public.’ ’’ 118 F.3d at 203 (emphasis added).        held that making works available on file-
           The court’s specific holding that the plain-         sharing programs is distribution.20 See,
           tiffs established a distribution from the            e.g., Universal Studios Prods. LLLP v.
           library was driven by equitable concerns             Bigwood, 441 F.Supp.2d 185, 190 (D.Me.
           rather than an analysis of the statute. See          2006); Arista Records LLC v. Greubel, 453
           Elektra Entm’t Grp., Inc. v. Barker, 551             F.Supp.2d 961, 970–71 (N.D.Tex.2006). But
           F.Supp.2d 234, 243 (S.D.N.Y.2008) (charac-           ‘‘[t]he general rule, supported by the great
           terizing Hotaling as ‘‘apparently motivated          weight of authority, is that infringement of
           by equitable principles’’ and grounded in            the distribution right requires an actual
           ‘‘public policy’’); Thomas, 579 F.Supp.2d at
                                                                dissemination of either copies or phonorec-
           1224 (noting that the court ‘‘did not ana-
                                                                ords.’’ Howell, 554 F.Supp.2d at 981 (inter-
           lyze any case law to support its conclusion’’
                                                                nal quotations and alteration omitted); see
           or ‘‘conduct any analysis of § 106(3)’’ but
                                                                also Thomas, 579 F.Supp.2d at 1225; Lon-
           was instead ‘‘guided by equitable con-
                                                                don–Sire Records, Inc. v. Doe, 542
           cerns’’). As Goldstein explains:
                                                                F.Supp.2d 153, 166–67 (D.Mass.2008); In
              Hotaling can also be understood as only
                                                                re Napster, Inc. Copyright Litig., 377
              a more limited decision on what is re-
                                                                F.Supp.2d 796, 805 (N.D.Cal.2005); Musi-
              quired to prove distribution. Although
              the record on the summary judgment                cal Prods., Inc. v. Roma’s Record Corp.,
              appeal revealed no instances in which             No. 05–cv–5903, 2007 WL 750319, at *1
              the library in fact loaned the infringing         (E.D.N.Y. Mar. 7, 2007). The Court joins
              copy to the public, the court observed            those courts and holds that Hotaling did
              that ‘‘members of the public can visit the        not announce a rule of general applicabili-
              library and use the work,’’ and further           ty, but instead articulated a principle that
              that ‘‘[i]f, as the [defendant] Church            applies only in cases where it is impossible
              says, actual use by the public must be            for a copyright owner to produce proof of
              shown to establish distribution, no one           actual distribution. See Howell, 554
              can expect a copyright holder to prove            F.Supp.2d at 982 (explaining Hotaling as
              particular instances of use by the public         reaching instances where proof of use by
              when the proof is impossible to produce           the public was impossible to produce); Ar-
              because the infringing library has not            ista Records, Inc. v. MP3Board, Inc., No.
              kept records of public use.                       00 Civ. 4660, 2002 WL 1997918, at *4
           Goldstein on Copyright § 7.5.1 (3d ed.               (S.D.N.Y. Aug. 29, 2002) (‘‘While a copy-
           2012 Supp.) (footnotes omitted); see also            right holder may not be required to prove
           Patry on Copyright § 13:9 (‘‘[T]he majori-           particular instances of use by the public
           ty’s decision can be saved only if it is read        when the proof is impossible to produce
           to rest on an evidentiary probability that           because the infringer has not kept records
           there had been an actual loan of the                 of public use, see Hotaling, 118 F.3d at
           copy.’’).                                            204, in the present case there has been no
             [18] To be sure, some courts have con-             showing that the record companies did not
           strued the holding in Hotaling broadly and           have access to such data.’’).

           20. The Tenth Circuit recently relied on Hotal-       particularly among district courts, about the
             ing in a case involving a library’s distribution    applicability of Hotaling’s holding to cases of
             of a copyrighted work. See Diversey v.              Internet file-sharing.’’ Id. The court found it
             Schmidly, 738 F.3d 1196, 1202 n. 7 (10th            unnecessary to ‘‘delve into the file-sharing
             Cir.2013). In a footnote, however, the court        issue’’ because the case was factually on all
             acknowledged that there has been ‘‘dissensus,       fours with Hotaling. Id.
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              This reading of Hotaling is also consis-        ‘‘publication’’ to define ‘‘distribution.’’ This
           tent with the plain meaning of the statute.        logic is flawed for several reasons.
           Section 101 does not contain a further                At the threshold, the Court questions
           definition of distribution. Section 106(3)         the evidence relied on by those courts that
           provides the only relevant definition. A           purportedly establishes that distribution is
           distribution occurs when a work is trans-          interchangeable with publication. Those
           ferred to the public ‘‘by sale or other            courts build upon comments in legislative
           transfer of ownership, or by rental, lease,        history as well as an excerpt from the
           or lending.’’ 17 U.S.C. § 106(3). Thus, Con-       Supreme Court’s decision in Harper &
           gress provided the list of specific transac-       Row Publishers, Inc. v. Nation Enterpris-
           tions that will consummate a distribution.         es, 471 U.S. 539, 105 S.Ct. 2218, 85
           As Cox notes, clearly missing from the list        L.Ed.2d 588 (1985). Legislative history
           is an offer to sell, transfer, rent, lease, or     cannot override the plain meaning of ‘‘dis-
           lend a work. See Howell, 554 F.Supp.2d at          tribution’’ under § 106(3), however, and
           985 (‘‘The scope of the term distribution is       Harper & Row involved a narrow discus-
           only defined within § 106(3) itself TTTT’’);       sion of first publication and not the mean-
           Thomas, 579 F.Supp.2d at 1217 (‘‘Congress          ing of distribution and publication general-
           explains the manners in which distribution         ly. Cf. Thomas, 579 F.Supp.2d at 1219–20.
           can be effected: sale, transfer of owner-             Nor does the definition of ‘‘publication’’
           ship, rental, lease, or lending. The provi-        support a broader reading of the distribu-
           sion does not state that an offer to do any        tion right. The Act defines ‘‘publication’’ as
           of these acts constitutes distribution. Nor
                                                                 the distribution of copies or phonorec-
           does § 106(3) provide that making a work
                                                                 ords of a work to the public by sale or
           available for any of these activities consti-
                                                                 other transfer of ownership, or by rent-
           tutes distribution.’’); Patry on Copyright
                                                                 al, lease, or lending. The offering to
           § 13:9 (‘‘Perhaps because the statute lists
                                                                 distribute copies or phonorecords to a
           the types of distribution covered, there is
                                                                 group of persons for purposes of further
           no definition of ‘distribution.’ ’’).
                                                                 distribution, public performance, or pub-
              BMG argues in response that reading                lic display, constitutes publication.
           distribution to include a ‘‘making available’’     17 U.S.C. § 101. The first sentence of the
           right is consistent with other provisions in       definition tracks the language in § 106(3),
           the Copyright Act. As examples, BMG                making it clear that all distributions are
           cites the definition of ‘‘publication’’ in         publications. It does not follow from that
           § 101, which includes ‘‘offering to distrib-       proposition that the inverse—all publica-
           ute copies,’’ and § 506(a)(1)(C), a criminal       tions are distributions—is also true. See
           provision that provides that ‘‘the distribu-       Patry on Copyright § 13:11.50 (noting that
           tion of a work’’ may be accomplished by            courts that assume the inverse is true fall
           ‘‘making it available on a computer net-           within ‘‘the logical fallacy of affirming the
           work accessible to members of the public.’’        consequent’’ (internal quotation marks
           Courts have debated whether the defini-            omitted)). The ‘‘offering to distribute’’ lan-
           tion of ‘‘publication’’ in § 101 supports a        guage forms an additional category of pub-
           broader reading of the distribution right.         lications that are not distributions. See
           Some courts have concluded that ‘‘distribu-        London–Sire, 542 F.Supp.2d at 169; see
           tion’’ and ‘‘publication’’ are synonymous          also Howell, 554 F.Supp.2d at 985 (‘‘A
           terms under the Copyright Act and, work-           plain reading of the statute indicates that a
           ing from that baseline, use the definition of      publication can be either a distribution or
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           an offer to distribute for the purposes of           clear statutory language.’’ Milner v. Dep’t
           further distribution, but that a distribution        of Navy, 562 U.S. 562, 572, 131 S.Ct. 1259,
           must involve a ‘sale or other transfer of            179 L.Ed.2d 268 (2011); see also Stiltner v.
           ownership,’ or a ‘rental, lease, or lending’         Beretta U.S.A. Corp., 74 F.3d 1473, 1482
           of a copy of the work.’’). In short, § 101           (4th Cir.1996) (‘‘If the language is plain
           provides no support for BMG’s ‘‘making               and unambiguous, we look no further.’’).
           available’’ theory.                                  The Court leaves any further debate to
              Section 506(a)(1)(C), a criminal provision        academia.
           that imposes penalties for ‘‘the distribution
           of a work being prepared for commercial                 [20–22] BMG also argues that inter-
           distribution, by making it available on a            preting the right broadly is essential to
           computer network accessible to members               comport with the United States’s obli-
           of the public,’’ likewise convinces the Court        gations under the World Intellectual Prop-
           that its reading of § 106(3) is correct. This        erty Organization (‘‘WIPO’’) Copyright
           provision and § 101 establish that ‘‘when            Treaty. While the WIPO Treaty does rec-
           Congress intends distribution to encom-              ognize a ‘‘making available’’ right, the trea-
           pass making available or offering to trans-          ty is ‘‘not self-executing and [it] lack[s] any
           fer, it has demonstrated that it is quite            binding legal authority separate from [its]
           capable of explicitly providing that in the          implementation through the Copyright
           statute.’’ Thomas, 579 F.Supp.2d at 1218.            Act.’’ Thomas, 579 F.Supp.2d at 1226; see
              [19] BMG makes three additional ar-               also Medellin v. Texas, 552 U.S. 491, 505,
           guments for a ‘‘making available’’ interpre-         128 S.Ct. 1346, 170 L.Ed.2d 190 (2008)
           tation that the court finds equally unper-           (stating that treaties ‘‘are not domestic law
           suasive. First, BMG says that ‘‘making               unless Congress has either enacted imple-
           available’’ is ‘‘the view of definitive treatis-     menting statutes or the treaty itself con-
           es.’’ Pls.’ Opp’n at 12. That is not correct.        veys an intention that it be ‘self-executing’
           There is a split in the academic debate,             and is ratified on those terms’’). Moreover,
           with Menell and Nimmer advocating for a              courts employ the so-called Charming Bet-
           ‘‘making available’’ right and Patry and             sy canon of statutory interpretation only
           Goldstein advocating for actual distribu-            when ‘‘constru[ing] ambiguous statutes to
           tion.21 Menell and Nimmer rely heavily on            avoid unreasonable interference with the
           legislative history for their expansive read-        sovereign authority of other nations.’’ F.
           ing of the distribution right. The Court has         Hoffmann–La Roche Ltd. v. Empagran
           already reviewed the statutory language              S.A., 542 U.S. 155, 164, 124 S.Ct. 2359, 159
           and found it plain and unambiguous. Leg-             L.Ed.2d 226 (2004) (emphasis added); see
           islative history may not be used ‘‘to muddy          also Murray v. Schooner Charming Betsy,

           21. Compare Menell, supra, at 67 (‘‘[T]o prove         violate section 106(3).’’). Earlier versions of
             a violation of copyright’s distribution right, a     Nimmer on Copyright endorsed an actual dis-
             copyright owner need merely show that a              semination reading of the statute. See 2 David
             copyrighted work has been placed in a share          Nimmer & Melville B. Nimmer, Nimmer on
             folder that is accessible to the public.’’), and     Copyright § 8.11[A] (2007) (‘‘Infringement
             Nimmer on Copyright § 8.11[B], with Paul             TTT requires an actual dissemination of either
             Goldstein, Goldstein on Copyright § 7.5.1 (3d        copies or phonorecords.’’); see also Rick
             ed. 2005) (‘‘[A]n actual transfer must take          Sanders, Will Professor Nimmer’s Change of
             place; a mere offer for sale will not infringe       Heart on File Sharing Matter?, 15 Vanderbilt
             the right.’’), and William F. Patry, Patry on        J. Ent. & L. 857, 865 (2013) (noting that the
             Copyright § 13:11.50 (2015) (‘‘[T]he mere of-        ‘‘copyright treatises were unanimous until re-
             fering to distribute a copy work does not            cently’’).
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           6 U.S. (2 Cranch) 64, 118, 2 L.Ed. 208              sale or other transfer of ownership, or by
           (1804). As already explained, the statute is        rental, lease, or lending’’—requires that
           unambiguous. ‘‘[I]f a statute makes plain           there be a consummated ‘‘transfer’’ of copy
           Congress’s intent, a court must enforce the         or phonorecord and that there is no evi-
           intent of Congress irrespective of whether          dence of such a transfer in this case. The
           the statute conforms to customary interna-          Court believes Cox is mistaken on both
           tional law.’’ United States v. Ballestas, 795       counts.
           F.3d 138, 144 (D.C.Cir.2015) (internal quo-
                                                                   The distribution right extends only to
           tation marks omitted); see also Thomas,
                                                               ‘‘copies’’ and ‘‘phonorecords.’’ 17 U.S.C.
           579 F.Supp.2d at 1226 (concluding that
                                                               § 106(3). Phonorecords are ‘‘material ob-
           ‘‘concern for U.S. compliance with the
                                                               jects in which sounds TTT are TTT fixed by
           WIPO treat[y] TTT cannot override the
                                                               any method now known or later developed,
           clear congressional intent in § 106(3)’’).
                                                               and from which the sounds can be per-
              Finally, BMG points to a letter written          ceived, reproduced, or otherwise communi-
           by Marybeth Peters, the former Register             cated, either directly or with the aid of a
           of Copyrights, that embraces a ‘‘making             machine or device.’’22 Id. § 101. A work is
           available’’ reading of the statute. See Let-        ‘‘fixed’’ if it is ‘‘in a tangible medium of
           ter from Marybeth Peters, Register of               expression when its embodiment in a copy
           Copyrights, to Rep. Howard L. Berman                or phonorecord, by or under the authority
           (Sept. 25, 2002). The opinions expressed in         of the author, is sufficiently permanent or
           the letter have no controlling weight and           stable to permit it to be perceived, repro-
           the Court does not consider them. See               duced, or otherwise communicated for a
           Elektra Entm’t Grp., Inc., 551 F. Supp. 2d          period of more than transitory duration.’’
           at 242–43 n. 7 (declining to rely on the            Id. Although Cox equates the phrase ‘‘ma-
           Peters letter); Thomas, 579 F.Supp.2d at            terial object’’ with a physical object, in fact
           1217 (‘‘[O]pinion letters from the Copy-            ‘‘any object in which a sound recording can
           right Office to Congress on matters of              be fixed is a ‘material object.’ ’’ London–
           statutory interpretation are not binding            Sire, 542 F.Supp.2d at 171. And that in-
           and are ‘entitled to respect insofar as they        cludes electronic files. Id. at 170 (‘‘It
           are persuasive.’ ’’ (quoting Broad. Music,          makes no difference that the distribution
           Inc. v. Roger Miller Music, Inc., 396 F.3d          occurs electronically, or that the items are
           762, 778 (6th Cir.2005))).                          electronic sequences of data rather than
              Although the Court agrees with Cox up            physical objects.’’); id. at 173 (restating
           to this point, Cox makes two additional             that ‘‘ ‘material objects’ should not be un-
           arguments regarding the contours of the             derstood as separating tangible copies
           distribution right that the Court does not          from non-tangible copies’’); see also Fox
           accept. First, Cox contends ‘‘copies or pho-        Broad. Co. Inc. v. Dish Network, L.C.C.,
           norecords’’ cover only tangible, material           905 F.Supp.2d 1088, 1106 (C.D.Cal.2012),
           objects and the distribution right is not           aff’d 723 F.3d 1067 (9th Cir.2013) (‘‘In the
           infringed by electronic, rather than physi-         electronic context, copies may be distribut-
           cal, transfers. Second, Cox argues that the         ed electronically.’’); Greubel, 453 F.Supp.2d
           transactional language in the statute—‘‘by          at 968 (noting that ‘‘courts have not hesi-

           22. The definition of ‘‘copies’’ is the same ex-       Sire, 542 F.Supp.2d at 165 n. 14 (‘‘The two
             cept that they are ‘‘material objects, other         terms appear to be functionally interchangea-
             than phonorecords, in which a work is fixed.’’       ble TTT, differing only in the nature of the
             § 101 (emphasis added); see also London–             copyrighted work.’’).
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           tated to find copyright infringement by           downloading. BMG argues that even if this
           distribution in cases of file-sharing or elec-    ‘‘making available’’ evidence is not direct
           tronic transmission of copyrighted works’’).      evidence of distribution, it is circumstantial
               Not only can electronic files be ‘‘material   evidence that the works were in fact down-
           objects,’’ but transferring files using a Bit-    loaded given the way a BitTorrent protocol
           Torrent protocol satisfies the transactional      operates. See London–Sire, 542 F.Supp.2d
           element of distribution. Section 106(3) re-       at 169 (finding it is reasonable to infer that
           quires a distribution ‘‘by sale or other          distribution actually took place ‘‘where the
           transfer of ownership, or by rental, lease,       defendant has completed all the necessary
           or lending.’’ While BitTorrent transfers do       steps for public distribution’’); see also
           not fit within our ordinary conception of a       Howell, 554 F.Supp.2d at 983.
           ‘‘transfer of ownership’’ because the trans-        The Court finds BMG has demonstrated
           feror retains his or her own copy of the          that there is a genuine issue of material
           file, the Court finds the London–Sire             fact as to whether its distribution right
           court’s reasoning on this issue persuasive.
                                                             was directly infringed.
           ‘‘[I]t is the newly minted ownership rights
           held by the transferee that concern it, not
                                                               2. Contributory Infringement
           whether the transferor gives up his own.’’
           542 F.Supp.2d at 173. In other words, what           [23] A contributory infringer is one
           matters is that ‘‘when the transaction is         who, (1) ‘‘with knowledge of the infringing
           completed, the distributee has a material         activity,’’ (2) ‘‘induces, causes or materially
           object.’’ Id. at 174.                             contributes to the infringing conduct of
              In sum, to establish a direct infringe-        another.’’ CoStar Grp., Inc., 373 F.3d at
           ment of its distribution right, BMG must          550 (quoting Gershwin Publ’g Corp. v. Co-
           show an actual dissemination of a copy-           lumbia Artists Mgmt., Inc., 443 F.2d 1159,
           righted work. BMG contends that even              1162 (2d Cir.1971)). BMG’s claim is that
           under this standard, it has produced more         Cox knew, had reason to know, or was
           than enough evidence to show actual dis-          willfully blind to its users’ infringement
           semination. First, Rightscorp identified          and materially contributed to that infringe-
           Cox subscribers sharing torrents that             ment. Cox raises two general challenges to
           Rightscorp had also found on torrent in-          BMG’s claim. First, Cox contends that
           dexing websites. Because each torrent con-        only an inducement theory of contributory
           tains a unique ‘‘hash,’’ an identifying code      infringement survived the Supreme
           that is only created once, BMG argues             Court’s decision in Metro–Goldwyn–Mayer
           these Cox users must have downloaded the          Studios, Inc. v. Grokster, Ltd., 545 U.S.
           torrents at some point. Second, Rightscorp        913, 125 S.Ct. 2764, 162 L.Ed.2d 781
           downloaded over 700,000 copies of copy-           (2005). Because BMG concedes for pur-
           righted works from Cox subscribers using          poses of summary judgment that there is
           Cox’s internet service and 100,000 of those       no evidence that Cox induced infringe-
           copies were of the works at issue in this         ment, see Defs.’ SUMF 8, Cox asks for
           case.23 Third, Rightscorp says it identified      summary judgment. Second, even if the
           2.5 million instances in which Cox users          Court finds a ‘‘material contribution’’ theo-
           made available the copyrighted works for          ry is still viable, Cox argues that BMG has

           23. Cox’s expert concluded that ‘‘the samples       Reply at 10 n.3. The reliability of the samples
             that Rightscorp collected revealed multiple       will be a factual issue for the jury to weigh.
             errors in its software’s detection process.’’
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           no evidence that Cox knew of the specific             BMG cannot succeed because there is no
           infringing activity at issue in this case.            evidence that Cox had knowledge of in-
                                                                 fringing activity.25 The knowledge require-
                       a. Effect of Grokster                     ment is met by a showing of actual or
              The Court finds no support for Cox’s               constructive knowledge or by evidence that
           reading of Grokster. Grokster clarified the           a defendant took deliberate actions to will-
           scope of inducement; it did not explicitly or         fully blind itself to specific infringing activ-
           implicitly reject a material contribution             ity.26 See Softech Worldwide, LLC v. Inter-
           theory of liability.24 See Perfect 10, Inc. v.        net Tech. Broad. Corp., No. 1:10cv651,
           Giganews, Inc., No. CV 11–07098, 2014                 2010 WL 4645791, at *3 (E.D.Va. Nov. 8,
           WL 8628031, at *6 (C.D.Cal. Nov. 14, 2014)            2010); Seoul Broad. Sys. Int’l, Inc. v.
           (rejecting the same argument); see also               Young Min Ro, No. 1:09cv433, 2011 WL
           Goldstein on Copyright § 8.0 (3d ed. 2011
                                                                 3207024, at *9 (E.D.Va. July 27, 2011)
           Supp.) (noting that Grokster ‘‘gave promi-
                                                                 (stating that plaintiffs were ‘‘at the very
           nence to the inducement branch of contrib-
                                                                 least TTT willfully blind to the possibility’’
           utory liability’’ (emphasis added)). The
                                                                 of infringement and thus were liable for
           Court also finds it persuasive that in the
                                                                 contributory infringement).
           wake of Grokster courts have continued to
           articulate both inducement and material                  BMG asserts that Cox had knowledge of
           contribution theories of contributory in-             its users’ infringing activity because Right-
           fringement. See, e.g., Perfect 10, Inc. v.            scorp sent Cox more than two million in-
           Amazon.com, Inc., 508 F.3d 1146, 1171 n.              fringement notices pertaining to its copy-
           11 (9th Cir.2007) (‘‘[T]he Supreme Court in           righted works. Despite Cox’s arguments to
           Grokster did not suggest that a court must            the contrary, DMCA-compliant notices are
           find inducement in order to impose con-               evidence of knowledge. See Capitol Rec-
           tributory liability under common law prin-            ords, LLC, 2015 WL 1402049, at *43; Giga-
           ciples.’’).                                           news, Inc., 2014 WL 8628031, at *7; see
                           b. Knowledge                          also Corbis Corp., 351 F.Supp.2d at 1107
             [24] Cox argues that even if a ‘‘materi-            (stating in another context that notices are
           al contribution’’ theory survived Grokster,           ‘‘the most powerful evidence of a service

           24. The Grokster Court said that ‘‘[o]ne in-             Court declines to reach the issue of whether
             fringes contributorily by intentionally induc-         there is sufficient evidence of Cox’s contribu-
             ing or encouraging direct infringement.’’ 545          tion to the alleged infringement.
             U.S. at 930, 125 S.Ct. 2764 (citing Gershwin,
             443 F.3d at 1162). Cox contends this language       26. Some courts have abandoned constructive
             displaced the ‘‘older formulation’’ of contribu-      knowledge in the online context and instead
             tory infringement articulated by the Second           required plaintiffs to establish ‘‘actual knowl-
             Circuit in Gershwin Publishing Corporation            edge of specific acts of infringement.’’ Luv-
             (and quoted above) that a contributory in-            darts, LLC v. AT&T Mobility, LLC, 710 F.3d
             fringer is one who ‘‘with knowledge of the            1068, 1072 (9th Cir.2013) (quoting A&M Rec-
             infringing activity induces, causes or materi-        ords, Inc. v. Napster, Inc., 239 F.3d 1004,
             ally contributes to the infringing conduct of         1021 (9th Cir.2001)). Absent any indication
             another.’’ 443 F.2d at 1162. Far from imply-          from the Fourth Circuit to the contrary, the
             ing any disapproval of Gershwin, however,             Court declines to alter the contributory in-
             the Supreme Court cited favorably to Gersh-           fringement standard. Cox will be liable if it
             win in support of its assertion.                      knew or had reason to know of direct infringe-
                                                                   ment. The Court may permit the jury to be
           25. Cox did not raise BMG’s ability to estab-           asked whether Cox had actual or constructive
             lish the second ‘‘material contribution’’ ele-        knowledge of, or was willfully blind to, specif-
             ment until its reply brief. Accordingly, the          ic acts of infringement by interrogatory.
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           provider’s knowledge’’). This case presents         other evidence in the record that put Cox
           an unusual fact pattern, however, because           on notice of specific infringing activity.
           it is undisputed that Cox never received
           Rightscorp’s notices related to BMG’s                  First, BMG claims that when Cox re-
           copyrights during the period covered by             fused to forward its notices, it gave Cox
           the Complaint. Cox began blocking Right-            access to a searchable and sortable
           scorp’s notices at the server level in 2011,        ‘‘dashboard’’ that contained all of the in-
           meaning not only did Cox not receive the            formation pertaining to the alleged in-
           notices, it also has no record of receiving         fringements occurring at each IP address.
           them.27 The notices relevant to this litiga-        Although Cox received an email from
           tion were not sent until 2012.                      Rightscorp with instructions on how to
              BMG argues that Cox’s unreasonable               access the dashboard, Cox maintains that
           decision not to receive Rightscorp’s notices        it never in fact accessed the dashboard
           gave Cox reason to know of the infringing           and thus it could not have been a source
           activity. In support, BMG draws a compar-           of knowledge. Second, BMG says after
           ison to Ellison v. Robertson, 357 F.3d 1072         Cox blocked Rightscorp’s notices, Right-
           (9th Cir.2004). In that case, AOL changed           scorp sent emails to Zabek, the abuse
           the email address it used to accept in-             group, and Cox’s in-house privacy counsel
           fringement notices but did not immediately          identifying IP addresses with a significant
           register the change with the U.S. Copy-             amount of infringing activity. See Allan
           right Office or put a mechanism in place to         Decl. Exs. 14, 61. Finally, BMG reprises
           forward or return messages received at its          the statements by members of Cox’s
           old address. The Ninth Circuit concluded            abuse group discussed above that de-
           that ‘‘[b]ecause there [was] evidence indi-         scribe specific customers with phrases
           cating that AOL changed its e-mail ad-              like ‘‘habitual abuser’’ or ‘‘well aware of
           dress in an unreasonable manner and that            his actions.’’28 Id. Exs. 28, 40.
           AOL should have been on notice of infring-
           ing activity,’’ a trier of fact could find AOL         Considering all of this together, the
           had reason to know of the infringing activi-        Court finds a reasonable jury could con-
           ty occurring. Id. at 1077. BMG says Cox’s           clude that Cox’s refusal to accept Right-
           blacklisting of its notices was similarly un-       scorp’s notices was unreasonable and that
           reasonable and that, as in Ellison, there is        additional notice provided to Cox gave it

           27. Cox contends the notices are not evidence       28. Cox attempts to characterize these emails
             of knowledge because even had Cox received          as merely acknowledging the presence of
             them, the notices were deficient. But Cox’s in-     widespread infringement on the internet. The
             house counsel, who set Cox’s policy not to          Court disagrees. These emails show Cox em-
             accept Rightscorp’s notices, testified that the     ployees discussing specific interactions with
             notices were ‘‘generally consistent’’ with the      individual Cox account holders regarding
             DMCA in all other respects, see Allan Decl.         what Cox employees believed was specific in-
             Ex. 2, and Cox has repeatedly asserted in this      fringing activity. Even if these emails would
             litigation that if Rightscorp had only agreed       not be sufficient standing alone to establish
             to delete the settlement language from the
                                                                 knowledge, they strengthen the inference that
             notices, they would have been forwarded to
                                                                 Cox’s knowledge of infringement went beyond
             Cox account holders. At this stage of the liti-
                                                                 the mere possibility that its service was being
             gation, viewing the evidence in the light most
                                                                 used for infringement.
             favorable to BMG, the Court finds a reason-
             able trier of fact could conclude that had Cox
             received the notices, they would be evidence
             of infringing activity.
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           reason to know of the allegedly infringing          does not mean that it never looked the
           activity on its network.                            other way when confronted by a high
                      c. Willful Blindness                     probability that certain conduct was in-
              [25–27] BMG also argues that the rec-            fringing.’’). Cox also argues that BMG can-
           ord establishes Cox’s willful blindness to          not show that its decision to block Right-
           the direct infringement. As noted above,            scorp notices was made with the intent to
           willful blindness is the equivalent of knowl-       avoid knowledge of infringement because
           edge in copyright law. See Aimster, 334             Cox works with complainants to remove
           F.3d at 650. ‘‘A person is ‘willfully blind’ or     ‘‘improper language’’ from notices. Be-
           engages in ‘conscious avoidance’ amount-            cause Cox offered to do the same with
           ing to knowledge where the person was               Rightscorp’s notices, Cox argues there is
           aware of a high probability of the fact in          no evidence that it was deliberately avoid-
           dispute and consciously avoided confirming          ing knowledge of illegal activity. While this
           that fact.’’ Viacom Int’l, Inc., 676 F.3d at        would certainly be a reasonable inference
           35 (internal quotation marks omitted).              for a jury to draw, it is not the only
           Willful blindness requires more than negli-         inference available.
           gence or recklessness. See Luvdarts, LLC,              BMG paints a very different picture of a
           710 F.3d at 1073. There must be evidence            company unhappy with the burdens of
           that the defendant took ‘‘deliberate actions        complying with the DMCA and using the
           to avoid confirming a high probability of           settlement offers in Rightscorp’s notices as
           wrongdoing and who can almost be said to            a red herring to distract from its goal of
           have actually known the critical facts.’’           reducing the number of infringement no-
           Global–Tech Appliances, Inc. v. S.B.A.,             tices Cox receives. Given the evidence, this
           563 U.S. 754, 131 S.Ct. 2060, 2070, 179             is also a justifiable inference. It will be the
           L.Ed.2d 1167 (2011) (addressing willful             jury’s task, not the Court’s, to weigh the
           blindness in the context of patent infringe-        evidence and choose among the competing
           ment).                                              inferences. See Columbia Union Coll. v.
              BMG argues that Cox’s failure to termi-          Clarke, 159 F.3d 151, 164 (4th Cir.1998)
           nate repeat infringers from its service and         (‘‘Where the party challenging the grant of
           its deliberate avoidance of Rightscorp’s no-        summary judgment can show that the in-
           tices establishes its willful blindness. In         ferences they suggest are reasonable in
           response, Cox points to the actions it does         light of the competing inferences, sum-
           take when it receives what it considers             mary judgment must be denied.’’ (internal
           proper infringement notices. Cox says that          quotation marks omitted)).
           it forwards hundreds of thousands of in-
           fringement notices annually, that it works             3. Vicarious Infringement
           with account holders to identify and stop              [28, 29] BMG also alleges that Cox is
           the activities causing the notices, and that        liable for vicarious infringement. A variant
           it suspends and when necessary termi-               on respondeat superior, vicarious liability
           nates account holders. But this generalized         holds a defendant accountable for third-
           evidence that Cox does not always turn a            party infringement if he ‘‘(1) possessed the
           blind eye to infringement, does not mean            right and ability to supervise the infring-
           that it has never done so. Cf. Capitol Rec-         ing activity; and (2) possessed an obvious
           ords, Inc. v. MP3tunes, LLC, 2013 WL                and direct financial interest in the exploit-
           1987225, at *3 (May 14, 2013) (‘‘[Defen-            ed copyrighted materials.’’ Nelson–Sal-
           dant’s] ability to identify repeat infringers       abes, Inc. v. Morningside Dev., LLC, 284
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           F.3d 505, 513 (4th Cir.2002). Unlike con-         exercising its ability to suspend or termi-
           tributory infringement, vicarious liability is    nate account holders stops or limits in-
           not based on the knowledge or intent of           fringement.
           the defendant. It is entirely dependent on           Cox maintains that despite a legal right
           the existence of a financial benefit and the      to stop or limit infringing activity by ter-
           defendant’s relationship to the infringe-         minating accounts, there must also be evi-
           ment. See Arista Records, LLC v. Usen-            dence in the record that Cox’s current
           et.com, Inc., 633 F.Supp.2d 124, 156              architecture would allow it to exercise
           (S.D.N.Y.2009); see also EMI Apr. Music,          physical control over the infringing activi-
           Inc. v. White, 618 F.Supp.2d 497, 507             ty. Cox reasons that the provision of gen-
           (E.D.Va.2009) (noting that a lack of knowl-       eral internet service is much different than
           edge of direct infringement ‘‘is not a de-        the swap market in Fonovisa, Inc. v. Cher-
           fense where both elements are satisfied’’).       ry Auction, Inc., 76 F.3d 259, 262 (9th
                                                             Cir.1996), where the defendant not only
              a. Right and Ability to Supervise              had the right to terminate vendors, but
              The first element requires that the de-        also ‘‘controlled the access of customers to
           fendant ‘‘declin[ed] a right to stop or limit’’   the swap meet area.’’ It is also distinguish-
           the direct infringement. Grokster, 545 U.S.       able, Cox contends, from defendants like
           at 930, 125 S.Ct. 2764. Cox expressly re-         Napster, which had ‘‘the ability to locate
           tains the right in its AUP to suspend or          infringing material listed on its search in-
           terminate its account holders’ access to          dices.’’ A&M Records, Inc. v. Napster,
           internet service. See Viacom Int’l, Inc.,         Inc., 239 F.3d 1004, 1024 (9th Cir. 2001).
           676 F.3d at 37 (‘‘Under the common law               In support, Cox relies on two more re-
           vicarious liability standard, the ability to      cent cases from the Ninth Circuit, Perfect
           block infringers’ access to a particular en-      10, Inc. v. Amazon.com, Inc., 508 F.3d
           vironment for any reason whatsoever is            1146 (9th Cir.2007), and Perfect 10, Inc. v.
           evidence of the right and ability to super-       Visa International Service Association,
           vise.’’ (internal quotation marks and altera-     494 F.3d 788 (9th Cir.2007). This Court is
           tions omitted)). Thus, Cox has the contrac-       of course not bound by either decision, nor
           tual right to condition the availability of its   does the Court find the reasoning in those
           internet access to users who do not use           decisions warrants summary judgment
           that service to violate copyrights. If users      here. In Amazon, the owner of copyright-
           listen when Cox exercises that power, in-         ed images sued Google unsuccessfully on
           fringement stops. If users do not and Cox         two theories of vicarious liability. The first
           terminates them, that also stops or at least      was that Google was vicariously liable for
           limits infringement.                              linking search results to third-party web-
              In addition to its legal control, Cox also     sites that contained the infringing images.
           has the practical ability to stop or limit        The Ninth Circuit found the ‘‘control’’ ele-
           infringement. There cannot be any serious         ment was missing because the plaintiff
           dispute that internet service is an essential     ‘‘ha[d] not shown that Google has contracts
           component of the infringing activity al-          with third-party websites that empower
           leged by BMG. File-sharing programs are           Google to stop or limit them from repro-
           completely dependent on the internet to           ducing, displaying, and distributing in-
           facilitate the download and upload of files.      fringing copies’’ of the infringing images.
           It is therefore a reasonable inference that       508 F.3d at 1173. The second theory was
           the result of an internet service provider        that Google had control via contracts un-
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           derlying its AdSense program, through             system, but they cannot themselves block
           which owners of websites register to have         access to the Internet, to any particular
           Google place relevant advertising on their        websites, or to search engines enabling the
           sites. The contracts permitted Google to          location of such websites.’’ Id. (emphasis
           terminate partnerships for copyright viola-       added).
           tions. Despite the right to terminate, the           Nor does the Court agree with the Visa
           court found it did not in practice give           court’s attempt to distinguish cases like
           Google ‘‘the right to stop direct infringe-       Fonovisa and Napster where the defen-
           ment by third-party websites.’’ Id. at 1173–      dant has physical control over the infring-
           74.                                               ing activity. As Judge Kozinski explained
              By contrast, here Cox has the contractu-       in his dissent, ‘‘[p]hysical control over the
           al right to control, which allows it to stop      infringing activity is one way to stop in-
           or limit individuals from infringing BMG’s        fringers, but it’s certainly not the only
           copyrights. Moreover, unlike the scenario         way. Withdrawing crucial services, such as
           in which Google terminated a contract with        financial support, can be just as effective,
           an AdSense partner, when Cox terminates           and sometimes more effective, than techni-
           or suspends the relationship with an ac-          cal measures that can often be circumvent-
           count holder, it takes away an essential          ed.’’ Id. at 821 (Kozinzki, J., dissenting).
           component of direct infringement. When               In sum, Cox has a contractual relation-
           an AdSense partner was terminated, the            ship with its users and that relationship
           only result was that the ads were no long-        gives Cox the legal right to withhold ser-
           er sourced by Google. It would have no            vice in the face of infringing conduct. Cox
           effect on how the website worked. Without         also provides a crucial service to the in-
           the internet, individuals cannot upload or        fringements alleged in this case, which
           download illegal content.                         gives Cox the practical ability to stop or
              In Visa, the Ninth Circuit held that Visa      limit infringement. That is enough to raise
           could not be vicariously liable for process-      a genuine issue of material fact as to
           ing credit card payments on websites host-        whether BMG can establish the first ele-
           ing infringing conduct. The court’s holding       ment of its vicarious liability claim.
           was grounded in a concern that vicarious                   b. Direct Financial Interest
           liability may be extended to entities whose          [30–34] The second element requires a
           ability to take steps against infringement        ‘‘causal relationship between the infringing
           would have only an ‘‘indirect effect of re-       activity and any financial benefit a defen-
           ducing infringing activity on the Internet        dant reaps, regardless of how substantial
           at large.’’ 494 F.3d at 803. The court be-        the benefit is in proportion to a defen-
           lieved that were Visa to exercise its con-        dant’s overall profits.’’ Ellison, 357 F.3d at
           tractual right to terminate relationships, it     1079 (emphasis omitted). Financial benefit
           would exert at most ‘‘indirect economic           can be shown by evidence that ‘‘users are
           pressure.’’ Id. at 805. Here, the connection      attracted to a defendant’s product because
           cannot be described as indirect. When Cox         it enables infringement, and that use of the
           exercises its contractual right, Cox blocks       product for infringement financially bene-
           a direct infringer’s access to the internet.      fits the defendant.’’ Arista Records, LLC v.
           That individual is thereafter precluded           Lime Grp. LLC, 784 F.Supp.2d 398, 435
           from participation in the infringing activi-      (S.D.N.Y.2011). To show users’ attraction,
           ty. The Visa court even reasoned that Visa        a plaintiff must only establish that ‘‘the
           could only ‘‘block access to their payment        availability of infringing material acts as a
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           ‘draw’ for customers.’’ A&M Records, Inc.,          those fees is generated from subscribers
           239 F.3d at 1023 (internal quotation marks          that are drawn to Cox’s service at least in
           omitted). ‘‘[T]he law is clear that to consti-      part because of the infringing activity al-
           tute a direct financial benefit, the ‘draw’ of      leged in this case. Without that evidence,
           infringement need not be the primary, or            the requisite causal connection between
           even a significant, draw—rather, it only            the benefit and the infringing activity is
           need be ‘a’ draw.’’ Usenet.com, Inc., 633           not established.
           F.Supp.2d at 157. While the draw need not              BMG offers evidence of the ‘‘draw’’ of
           be significant, the requisite causal connec-        infringing activity in the form of a survey
           tion must be between ‘‘the infringing activ-        conducted by its expert, Stephen Nowlis.
           ities at issue in th[e] case and a direct           The study of Cox internet subscribers con-
           financial benefit’’ to the defendant. Giga-         cluded that 16% of subscribers ‘‘download
           news, Inc., 2014 WL 8628031, at *4.                 or upload free digital music through sites
              Cox provides a content-neutral commer-           such as ThePirateBay, KickAssTorrents,
           cial service that makes a wide selection of         and Torrentz,’’ and of that 16%, 70% char-
           services and activities available to its sub-       acterized the ability to do so as a reason
           scribers, including email, social network-          they subscribe to Cox.29 Pls.’ Opp’n at 25
           ing, web surfing, gaming, P2P file sharing,         (citing Nowlis Decl. Ex. 2 at 4 n.2). While
           and more. See Allan Decl. Ex. 37. Cox               this evidence is hardly overwhelming,30 it
           charges the same flat monthly fees to its           is also not clearly insufficient to satisfy the
           users whether they use Cox’s service for            legal standard. At this stage, viewing the
           infringing or non-infringing purposes.              evidence in the light most favorable to
           Those ‘‘flat periodic payments for service          BMG, the Court finds a close question
           TTT ordinarily would not constitute receiv-         remains and reasonable minds could differ.
           ing a financial benefit directly attributable       Accordingly, summary judgment is inap-
           to the infringing activity,’’ unless ‘‘the val-     propriate. See Walker v. Mod U–Kraf
           ue of the service lies in providing access to       Homes, LLC, 775 F.3d 202, 208 (4th Cir.
           infringing material.’’ Ellison, 357 F.3d at         2014). A reasonable trier of fact could con-
           1079 (alteration omitted) (quoting S. Rep.          clude that some percentage of Cox custom-
           105–90, at 44). Thus, the relevant inquiry          ers were drawn to Cox’s internet service at
           ‘‘where a service provider obtains revenue          least in part to download music, including
           from ‘subscribers,’ ’’ as here, is ‘‘whether        BMG’s copyrighted works, using BitTor-
           the infringing activity constitutes a draw          rent.
           for subscribers, not just an added benefit.’’
           Fung, 710 F.3d at 1044 (quoting Ellison,              4. Mitigation of Damages
           357 F.3d at 1079) (internal quotation                  [35–37] Cox also raises BMG’s alleged
           marks omitted). In other words, Cox’s re-           failure to mitigate its damages as a ground
           ceipt of monthly fees is only evidence of           for summary judgment. Specifically, Cox
           direct financial benefit if some portion of         argues BMG failed to mitigate by declining

           29. Cox raised multiple challenges to Nowlis’s      30. BMG’s only other evidence that subscrib-
             survey in a Daubert motion. (Dkt. No. 477).         ers chose Cox or retained their subscriptions
             The Court denied the motion on the ground           to Cox because of the availability of infringing
             that any deficiencies identified go to the          material is in the form of screenshots of mes-
             weight of the survey and not its admissibility.     sage boards on the website Reddit. BMG pres-
             (Dkt. No. 691).                                     ents no explanation as to how these hearsay
                                                                 statements would be admissible or authenti-
                                                                 cated, and the Court does not consider them.
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                                           Cite as 149 F.Supp.3d 634 (E.D.Va. 2015)

           to modify Rightscorp’s infringement no-              507–08 (4th Cir.1969). ‘‘A court can deny
           tices and by failing to pursue other sources         relief under the doctrine of unclean hands
           of infringement. BMG has elected to only             only when there is a close nexus between a
           pursue statutory damages. See 17 U.S.C.              party’s unethical conduct and the transac-
           § 504(c) (‘‘[T]he copyright owner may                tions on which that party seeks relief.’’ In
           elect, at any time before final judgment is          re Uwimana, 274 F.3d 806, 810 (4th Cir.
           rendered, to recover, instead of actual              2001) (citing Keystone Driller Co. v. Gen.
           damages and profits, an award of statutory           Excavator Co., 290 U.S. 240, 245, 54 S.Ct.
           damages TTTT’’). District courts are divided         146, 78 L.Ed. 293 (1933)), abrogated on
           on the question of whether a plaintiff’s             other grounds by Bullock v. BankChamp-
           election of statutory damages invalidates a          aign, N.A., ––– U.S. ––––, 133 S. Ct. 1754,
           failure-to-mitigate defense. The Court               185 L.Ed.2d 922 (2013). Moreover, an un-
           agrees with those courts to hold that it             clean hands defense ‘‘requires the defen-
           does not. A plaintiff’s actual damages are a         dant to show that he himself has been
           relevant consideration in determining stat-          injured by the plaintiff’s conduct.’’ Lawler
           utory damages under the Copyright Act.31             v. Gilliam, 569 F.2d 1283, 1294 (4th Cir.
           See Malibu Media, LLC v. Guastaferro,                1978). Evidence that the wrong was done
           Julien, No. 1:14–cv–1544, 2015 WL                    to some third party is insufficient. See id.
           4603065, at *5 (E.D.Va. July 28, 2015).              at 1294 n. 7 (citing J. Pomeroy, A Treaty
           Because actual damages are relevant, so              on Equity Jurisprudence § 399). Given
           too are the actions a plaintiff took to miti-        these limitations, the defense has been
           gate those damages.                                  ‘‘recognized only rarely, when the plain-
              [38] To the extent failure to mitigate            tiff’s transgression is of serious propor-
           damages is applicable to the award of stat-          tions and relates directly to the subject
           utory damages, a genuine issue of material           matter of the infringement action.’’ Dream
           fact remains as to whether BMG in fact               Games of Ariz., Inc. v. PC Onsite, 561
           failed to mitigate its damages.                      F.3d 983, 990–91 (9th Cir.2009) (quoting 4-
                                                                13 Nimmer on Copyright § 13.09[B] ).
             5. Unclean Hands                                      Cox argues BMG has unclean hands for
              [39, 40] Finally, Cox contends that               two reasons. Cox first claims BMG ‘‘failed
           BMG’s unclean hands bar its claims.                  to supervise [its agent] Rightscorp and
           Courts, including the Fourth Circuit, have           cast a blind eye towards its extortionate
           ‘‘on occasion invoke[d] the equitable doc-           scheme to profit from threats to cut off
           trine of unclean hands as a defense in a             Internet service.’’ Defs.’ Memo. in Supp. at
           copyright infringement action.’’32 4-13              27. The only conduct by Rightscorp with a
           Nimmer on Copyright § 13.09[B]; see also             direct nexus to this litigation is the inclu-
           Tempo Music, Inc. v. Myers, 407 F.2d 503,            sion of settlement offers in the notices sent

           31. When statutory damages are penal in na-          32. Although it is an equitable defense, courts
             ture, the focus is ‘‘necessarily on the [defen-      have applied the doctrine to preclude both
             dant’s] actions and not the [plaintiff’s].’’         equitable relief and damages at law. See Tem-
             Moothart v. Bell, 21 F.3d 1499, 1507 (10th           po Music, Inc. v. Myers, 407 F.2d 503, 507 n.
             Cir.1994) (finding mitigation inapplicable to        8 (4th Cir.1969); see also 4-13 Nimmer on
             statutory damages under ERISA because they           Copyright § 13.09[B] (‘‘This equitable defense
             are penal). Statutory damages under the              has been held available in a copyright in-
             Copyright Act are not penal. Instead, they are       fringement action regardless of whether the
             aimed at compensating copyright owners and           action is one at law or in equity.’’).
             deterring future infringing conduct.
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           to Cox. The Court finds the notices are not                 III. CONCLUSION
           evidence of ‘‘misconduct rising to the level
                                                              For the reasons stated above, the Court
           of fraud, deceit, unconscionability or bad
                                                            DENIES Cox’s Motion for Summary
           faith.’’ ABC, Inc. v. PrimeTime 24, Joint
                                                            Judgment. (Dkt. No. 305). The Court
           Venture, 17 F.Supp.2d 478, 484 (M.D.N.C.
                                                            GRANTS in part and DENIES in part
           1998), aff’d in part, vacated in part, 184
                                                            Plaintiffs’ Motion for Partial Summary
           F.3d 348 (4th Cir.1999). Cox’s remaining
                                                            Judgment. (Dkt. No. 310).
           allegations, which amount to general at-
           tacks on Rightscorp’s business model, are

                                                                         ,
           all directed towards Rightscorp’s treat-
           ment of third parties. None of these al-
           leged practices resulted in any injury to
           Cox or any Cox customer and thus cannot
           form the basis of an unclean hands de-
           fense. Cf. Positive Black Talk Inc. v. Cash
           Money Records, Inc., 394 F.3d 357, 379                UNITED STATES of America,
           (5th Cir.2004) (‘‘The unclean hands doc-
           trine is used to defeat an undeserving                                v.
           plaintiff’s claim for equitable relief against    Andrew Justin JOHNSON, Defendant.
           a defendant that he has injured.’’ (empha-
           sis added)); Lawler, 569 F.3d at 1294 (‘‘The                1:15-CR-271 (LMB)
           only wrong [plaintiff] committed was
                                                                  United States District Court,
           against third parties.’’); see also In re Uwi-
                                                                         E.D. Virginia,
           mana, 274 F.3d at 810–11 (‘‘We are not
                                                                      Alexandria Division.
           open to arguments about a party’s general
           moral fitness TTTT’’).                                   Signed February 25, 2016
              [41] Cox next submits that BMG is not         Background: Defendant was charged
           entitled to relief because Rightscorp down-      with conspiracy to commit access device
           loaded thousands of sound recordings and         fraud and wire fraud arising from the use
           there is no evidence that Rightscorp had         of credit cards, debit cards, and identifica-
           authorization to do so from the owners of        tion documentation stolen from amusement
           the sound recording copyrights (as op-           park guests. Bench trial was held.
           posed to authorization from BMG, which           Holding: The District Court, Leonie M.
           owns the musical composition copyrights).        Brinkema, J., held that there was insuffi-
           However, ‘‘use of TTT undercover investi-        cient evidence to support conviction.
           gators and the like to ferret out infringe-
           ment is routine, and provides no defense.’’      Ordered accordingly.
           4-13 Nimmer on Copyright § 13.09[B] (cit-

                                                            1. Conspiracy O28(1)
           ing Sega Enters. v. MAPHIA, 948 F.Supp.
           923, 930 (N.D.Cal.1996)). Moreover, the
           downloading did not personally injure Cox.            To prove a conspiracy to commit an
           Thus, this conduct cannot be used as the         offense, the government must establish an
           basis of an unclean hands defense. Cf. Pos-      agreement to commit an offense, willing
           itive Black Talk Inc., 394 F.3d at 379.          participation by the defendant, and an
           Accordingly, the Court finds Cox’s unclean       overt act in furtherance of the conspiracy.
           hands defense fails as a matter of law.          18 U.S.C.A. § 371.
